Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 1 of 168 Page ID #:2061



                           LODGED
                  CLERK, U.S. DISTRICT COURT


                                                     January 29, 2018
                           1/29/2018
                                                          AK
                CENTRAL DISTRICT OF CALIFORNIA
                  BY: ___________________ DEPUTY
 Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 2 of 168 Page ID #:2062
                                                                                      4


 1                        P R O C E E D I N G S

 2                        -     -    -    -    -

 3                     ASPIRE+STARTUP+STEP+6+AUDIO

 4               MICHAEL FORCE:     Hello, Michael Force here.

 5    Welcome to Start-Up Step Number 6, how to license the

 6    most profitable products and proven systems online.

 7    Today we’re really going to get into the good stuff

 8    here, so get ready to take some notes.

 9               Now, many people today desire true financial

10    freedom for themselves and their families.

11    Unfortunately, most of them go about it in completely

12    the wrong way.    Today, we’re going to cover the right

13    way to do it.    By now you realize there is a far

14    easier way to make money online than you may have even

15    been led to believe.      And now that you’ve signed your

16    nondisclosure agreement, I can start to give you the

17    deeper reasons behind making a top-tier income.

18               So let’s jump in, but first let me share a

19    little fact with you.      In 2015, Disney released Star

20    Wars:   The Force Awakens.     The film went on to make

21    over $2.1 billion.      But what most people don’t know is

22    how much they made from simply licensing the Star Wars

23    name or brand out.      Over $5 billion is what they made.

24    They made two and a half times more money from

25    licensing the name and brand than they did the movie




                                    Attachment N                          EX 41
                                                                           1896
 Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 3 of 168 Page ID #:2063
                                                                                      5


 1    itself.   You see, making movies, products is

 2    profitable.     But licensing those products or names is

 3    a way more profitable enterprise as well.

 4               Let’s look at an example here.    Lego

 5    obviously paid a large sum of money to be able to

 6    leverage the Star Wars brand and name.     And also,

 7    guitars, grapes, down to Campbell’s Soups, Popchips,

 8    Jelly Bellys, Kraft Macaroni and Cheese, all the way

 9    down to Coffeemate has leveraged the licensing of the

10    Star Wars name.     Also, even CoverGirl did it as well.

11               And we’ve seen posters time and time again,

12    all around the world, that leveraged their name and

13    brand as well.     So people have made billions of

14    dollars simply from licensing a product that was

15    already made.     With that in mind, today, I want to

16    talk to you about something that is quite unique to

17    Digital Altitude.     When you joined the ASPIRE program,

18    you joined an incredible community of entrepreneurs

19    who help you become as successful as possible in so

20    many different ways.

21               You have at your fingertips a world-class

22    marketing platform, superior training, and a highly

23    qualified support and sales team to assist you.        If

24    you’ve done your homework, followed the steps, and

25    been in contact with your coach, you’ve learned the




                                   Attachment N                           EX 41
                                                                           1897
 Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 4 of 168 Page ID #:2064
                                                                                      6


 1    five -- of the required components of a successful

 2    online business.     If you remember, they are traffic,

 3    funnel, filter, followup, and product mix.

 4                Now, you have two options here.    You can go

 5    and create the own products yourself, or you can

 6    license someone else’s products.     We’ve all seen the

 7    difference that these mom-and-pop shops come and go,

 8    but the franchises always tend to stay the course,

 9    don’t they?

10                Now, we’re going to dig a little bit deeper

11    into licensing shortly, but, first, let’s examine the

12    pros and cons of running an online or a traditional

13    business.     One great part about creating your own

14    products and business is you have complete freedom to

15    create anything you can imagine.     If you love animals,

16    for example, you can create a brick-and-mortar

17    business rescuing dogs or an internet marketing

18    business training iguana owners, for example.      The

19    options are virtually limitless.

20                One downside to this is, of course, the

21    overhead and costs.     Everyone knows the overhead costs

22    of traditional, brick-and-mortar businesses are

23    extremely high with rent, payroll, insurance,

24    benefits, inventory, just to name a few.      But what you

25    may not know is that this can also be the case with an




                                   Attachment N                           EX 41
                                                                           1898
 Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 5 of 168 Page ID #:2065
                                                                                      7


 1    internet marketing business when building your own

 2    products and company from scratch as well.    These

 3    costs oftentimes exceed revenue and end up bankrupting

 4    new business owners.   This is something I want you to

 5    consider very seriously when weighing your options.

 6                The other big downside I want you to fully

 7    understand is the time commitment.    It takes a

 8    tremendous sickening amount of work and time to ramp

 9    up a new business from scratch.    Trust me, I know.

10    I’ve been there, done it.

11                I’m sure you’ve noticed at this point that

12    there is a lot involved with running an online

13    business.   This program is evidenced from that -- look

14    at the website, the videos, the branding, the

15    marketing, all the sales funnels, all the behind-the-

16    scenes development, and operations and support.       It’s

17    a massive undertaking.

18                There’s a lot of time, effort, and financial

19    investment that goes into building your own business

20    from the ground up.    If you’ve built or tried to build

21    a business like this in the past, then you know

22    exactly what I’m talking about.    It’s very difficult

23    to not only create a good product that people want but

24    handle all of the website creation, the customer

25    support, the branding, the fulfillment, operations,




                                  Attachment N                            EX 41
                                                                           1899
 Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 6 of 168 Page ID #:2066
                                                                                      8


 1    and more.   Trying to do all of that on your own is a

 2    seemingly insurmountable task that leaves many feeling

 3    stressed, tired, and financially strained.

 4                If you’re brand new to online marketing or

 5    looking to make your first $100 online, then you’re

 6    probably a bit overwhelmed already.    Just the

 7    technical aspects alone can cause you to freeze in

 8    your tracks.

 9                So let’s say you do have a product already.

10    You still have to register a domain, find hosting,

11    find an email service, set up a Stripe or Paypal

12    account, merchant, write the sales copy, create and

13    build an opt-in page and an entire sales funnel, video

14    sales letters, and then hook it into the email service

15    and then test to make sure it works, which reminds me,

16    now, you need the emails for the followup as well.

17    And we haven’t even got into building the sales page

18    or hooking in your merchant account or download pages,

19    thank-you pages, upsell pages and making sure they’re

20    all connected and working.

21                And that’s just for one product.   And if one

22    tiny thing is off in that process, your whole sales

23    funnel won’t work and it may take you days or crazy

24    frustration trying to figure it all out.     However, you

25    don’t have to do any of that, unless, of course, you




                                   Attachment N                           EX 41
                                                                           1900
 Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 7 of 168 Page ID #:2067
                                                                                      9


 1    really want to.

 2              Now, you might recall my story and the

 3    mental anguish that I went through while I was in the

 4    process of developing my own online businesses fresh

 5    out of the Marines in my first early years.    I wasn’t

 6    making much at all.    I’d literally put 10 to 12 hours

 7    a day and all my free time trying to figure it all

 8    out.

 9              If you’ve ever tried your own business or

10    maybe you have one now and if you’re trying anything

11    like when I started, you’re probably sleep-deprived,

12    your head was swimming with all of the ideas and

13    thoughts and things that you’ve got to do, all the

14    different moving parts of a business.    And it’s

15    probably not what you imagined when you thought of

16    starting a business.

17              I can tell you that I completely understand

18    the feeling because I’ve been there, but as you know,

19    I finally did break through.    And now I enjoy the

20    fruits of all of that blood, sweat, and tears with my

21    family as we travel the world and live a life of

22    abundance and enrichment and exposed to all the

23    cultural different experiences around the world that I

24    want my girls to experience as well.    And I’m very

25    grateful for my life, and I’ve worked very hard to get




                                  Attachment N                            EX 41
                                                                           1901
 Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 8 of 168 Page ID #:2068
                                                                                  10


 1    here.    I’ve had the opportunity to share my

 2    experiences, knowledge, and story with tens of

 3    thousands around the globe.

 4                I’m not telling you this to brag, by any

 5    means.    I’m telling this so that you understand that

 6    I’ve been where you are and I’ve made it to the other

 7    side.    I’ve made it to the top of the mountain.   I

 8    want you to lock arms with me as much as possible so

 9    you can make intelligent. profitable business

10    decisions as well.

11                Now, this is my passion, helping

12    entrepreneurs win, get those small wins so they can

13    work their way up the mountain.    So starting your own

14    product and business from scratch is certainly an

15    option if you’ve got thick skin, years of patience,

16    and you’re well capitalized.

17                So let’s talk about the option, licensing

18    someone else’s products.    This is how you can launch

19    your business without having to go through the school

20    of hard knocks like I did.     You get to skip the 12-

21    hour days and the million dollars in capital, all the

22    pain of building something from scratch and all the

23    frustration of learning the technology curve because

24    we’ve already done all the work for you.    You now have

25    access to the easiest way to build a healthy income




                                   Attachment N                           EX 41
                                                                           1902
 Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 9 of 168 Page ID #:2069
                                                                                  11


 1    and then invest in yourself down the line once you

 2    have the experience and free cashflow.

 3               Licensing basically means that you purchase

 4    the rights to a product or a brand.    Then you turn

 5    around and they sell that product, just like the Star

 6    Wars story I told you about earlier.     A lot of

 7    manufacturers licensed the rights to put Han Solo’s

 8    face on a t-shirt, but chances are they made their

 9    money -- money back in full.    Licensing products is

10    one of the fastest ways to get into business and

11    actually start getting sales.

12               Now, let me explain way.    Number one, you

13    don’t actually have to put in the work to create the

14    product.   You don’t have to wrack your brain trying to

15    come up with all the content, the design, building the

16    sales funnel or any of that.

17               When you license someone else’s product,

18    they go and create the product that’s got the hungry

19    market because they understand what their market is

20    actually looking for.   That’s a huge burden off your

21    shoulders because you don’t have to go and spend years

22    doing all the research, nor do you have any experience

23    with the market.

24               Now, don’t think that you have to choose one

25    or the other.   You can actually do both.   But if I had




                                  Attachment N                            EX 41
                                                                           1903
     Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 10 of 168 Page ID
                                      #:2070
                                                                                    12


 1     the opportunity to go back and skip all the years of

 2     hard work, I would have been able to make ten times

 3     the amount of money I made and would have been able to

 4     make it ten times faster.

 5                  The other good part about licensing is you

 6     get to cherry-pick what you want to sell.     Think of it

 7     this way.     Imagine that you walk into your online flea

 8     market.     There is in front of you hundreds of stalls,

 9     each with a different product you can license to sell.

10     You get to walk up to each store, pick up the product,

11     examine it, and find out whether it’s selling a lot or

12     not.   Before you spend any money or time, you get to

13     find out if it’s a good product that you would

14     actually feel comfortable about promoting.     Now, once

15     you’ve done that, you get to cherry-pick only the best

16     ones and only the ones you want to promote.

17                  The other really good thing about licensing

18     is that you can make a lot more profit.     Now, don’t

19     confuse licensing a product with affiliate marketing.

20     They are very different.     With affiliate marketing,

21     you promote someone else’s product.     Usually you get

22     up to a 50 percent commissions.     Here’s the thing,

23     you’re the one doing all the work.     You’re the one who

24     has to go and spend all the money and time to drive

25     your customers and drive the traffic.     So you only get




                                    Attachment N                          EX 41
                                                                           1904
     Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 11 of 168 Page ID
                                      #:2071
                                                                                    13


 1     to keep half.     With licensing, you get a much bigger

 2     margin, up to 60 percent or more.     And depending upon

 3     the situation, you can keep most of the money that you

 4     get to bring in.

 5                  The other thing about licensing is that

 6     sometimes you’ll find vendors who even handle all of

 7     the fulfillment for you so you never have to keep any

 8     of the inventory on hand.     You just have to make the

 9     sales, and someone else handles all the rest.

10                  However, there is a caveat, a dark side to

11     licensing.     You have to go and find these deals.

12     There are a lot of different products out there that

13     you could license, but not all of them are good.       And

14     if something goes wrong with the product, your

15     reputation is on the line.     So you have to invest a

16     lot of time and research to sort the bad products and

17     vendors from the good ones and then find ones that are

18     a fit for you.

19                  Dealing with the vendors, the people that

20     you’re going to license from, can often be a challenge

21     as well.     They put all this time into creating a

22     product.     Half the time, they don’t even want to

23     license.     When they do, then you have to mess around

24     with the negotiations, and they want royalties and a

25     big, up-front fee.     Then after months of research and




                                    Attachment N                          EX 41
                                                                           1905
     Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 12 of 168 Page ID
                                      #:2072
                                                                                    14


 1     hard work, the deal might fall through.      That is the

 2     most difficult part of licensing.

 3                 Now, listen, you can go out and try to find

 4     your own products to license, you can go out and

 5     negotiate and pay the up-front fees of $5- or $10,000

 6     or more, but there’s an easier way.     Licensing is one

 7     of the ways that I actually got started online.          I

 8     licensed my first product in the early 2000s.       That’s

 9     also the year that I started to make a decent amount

10     of sales.    A coincidence?   I don’t think so.    And

11     that’s why I’m excited to share Step 6 with you.

12                 The ASPIRE program, powered by Digital

13     Altitude, is part of one of over 48 different products

14     and services.    The whole program is designed to get

15     you from the bottom of the mountain to the top of your

16     own financial Mount Everest as quickly as possible.

17                 Now, to help you do that, we’ve created

18     Digital Altitude.    Rather than deal with all the

19     headaches, we’re making it possible for you to license

20     all of our 48 products with commissions up to 60

21     percent.    You’re also skipping all the time it would

22     take to set up the technology, the sales pages, the

23     delivery, even the sales and support teams.       Yet you

24     get access to all with your license.     Oh, and better

25     yet, you have to negotiate -- you don’t have to




                                     Attachment N                         EX 41
                                                                           1906
     Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 13 of 168 Page ID
                                      #:2073
                                                                                    15


 1     negotiate a better percentage either.     You get the

 2     industry’s highest commission rate.

 3                  Listen, I meet people every day and do you

 4     know what I hear, they all want to make more money,

 5     that you are not satisfied with what they’re doing

 6     right now.    They’re so busy.   You don’t know how

 7     you’ll be able to get started in something new that

 8     will allow you to break free.     That also tells me that

 9     you’re looking to achieve your own personal and

10     professional goals, and you can do all of that with

11     Digital Altitude, like thousands of others who have

12     come before you.

13                  Now, Digital Altitude is a digital business

14     and marketing e-learning company.     Think of like an

15     online university or an academy, okay, the Harvard of

16     online business.    We have core products, of course,

17     which are systems and education.      You’re familiar with

18     the ASPIRE system as you came through it.      But we also

19     have a BASE product, RISE product, ASCEND product,

20     PEAK product, APEX product.      And we also have training

21     and coaching, as you can see with the products behind

22     that:    GEAR, HIKE, TREK, CLIMB, REACH, and SOAR.

23                  We also have add-on products, branding, and

24     social called Guru You.     We help set up your social

25     media.    We help set up your brand so you can lead with




                                    Attachment N                          EX 41
                                                                           1907
     Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 14 of 168 Page ID
                                      #:2074
                                                                                    16


 1     -- if you want to, you don’t have to -- if you want to

 2     lead with your own name and your face.

 3                 And, typically, this is an advanced solution

 4     that you may come into three, six months down the

 5     line.    But, nevertheless, we have it here for you to

 6     be able to elevate your success.     And you also earn a

 7     commission by reselling this product as well if you

 8     license it.

 9                 Content and blogging, we have inbound

10     content packages where we create blog posts, articles.

11     We write -- you know, you can write your own book.        We

12     have a book program.    We have all of this stuff built

13     in with our content and blogging.     We set up your

14     blog.    We set up your website.   All of that is built

15     in, and all of these products here -- I’m not going to

16     go over all the prices or all that.     You’ll come to

17     that later, down -- after you get done with your

18     steps.    But ultimately we have all this set up for

19     you, and it’s all commissionable as well as you resell

20     it to your members if you’re licensed.

21                 We also have traffic and funnel.   We have

22     traffic packages.    We set up the sales funnel.    We set

23     up websites, again, a more advanced solution down the

24     line, three, six months once you start to earn your

25     $5-, $10-, $15-, $20,000 a month, we will help you




                                   Attachment N                           EX 41
                                                                           1908
     Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 15 of 168 Page ID
                                      #:2075
                                                                                    17


 1     take it even higher to the next level with a lot of

 2     these done-for-you services that you can also license

 3     and resell to all the members who come on your team.

 4                  So 48 different products and services; 60

 5     income streams.    Right now, you’re probably trading

 6     time for money just to create one income stream,

 7     getting your hands dirty to put dollars in your

 8     pocket.   But here, you’re going to have already done

 9     for you a setup of a franchise-like model that you can

10     license and have 60 income streams that you can run

11     commissions on.    Nineteen of them are residual.     Up to

12     $24,000 in commissions you can earn.    You can earn

13     $1,000 commissions, $5,000 commission, $7,500

14     commissions, 12,000 or more.

15                  Now, it’s not the mountain we conquer but

16     ourselves, one of my favorite quotes.    A lot of people

17     think that it’s -- you know, we have to overcome these

18     obstacles in our way.    But really obstacles are an

19     illusion.    You can really ultimately get through them,

20     you just have to have the belief and the motivation to

21     get there.    So really it’s you that is conquering the

22     mountain, not the mountain.

23                  Now, this -- Digital Altitude is for

24     entrepreneurs, marketers, and dreamers who believe

25     dreams are worth chasing.     I know it was for me.




                                    Attachment N                          EX 41
                                                                           1909
     Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 16 of 168 Page ID
                                      #:2076
                                                                                    18


 1                  Now, again, my name is Michael Force, and

 2     I’m the founder here, and you’ve gotten to know me

 3     over the last few steps.    Former U.S. Marine, been

 4     online for the last 15 years, and have been a seven-

 5     figure and eight-figure producer over that time, have

 6     over 500,000 people on my newsletter.       And I’m also a

 7     speaker.     I love -- one of my passions is to speak and

 8     train and coach, and I’ve done it all around the world

 9     to audiences from 5,000 on down to 1,000 to 500, down

10     to 25, even private, personal consulting.

11                  So I’m also a father of two young girls and

12     a husband.    I’ve been married 20 years.     We had our

13     kids in our -- in our mid-thirties here.       My wife and

14     I got married very young, as you can tell.       I’m also a

15     former U.S. Marine, and one of my -- to give back to

16     my country was very important to me, as a lot of my

17     family did as well.

18                  So the decision behind Digital Altitude is

19     to elevate the success of aspiring entrepreneurs,

20     marketers, and dreamers around the world with world-

21     class education, to lift them up and fast track them

22     with trial -- over the trial and error.       We strive to

23     turn leaders into legends while being there each step

24     of the way to guide them through the starts, stops,

25     and pitfalls of starting and scaling a profitable




                                    Attachment N                          EX 41
                                                                           1910
     Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 17 of 168 Page ID
                                      #:2077
                                                                                    19


 1     digital business.   Our focus is to ensure that you

 2     never get left behind and are pushed when you feel

 3     like giving up, pulled when you want to quit.      Our

 4     passion and drive comes from helping others realize

 5     their potential and reaching their peak.

 6                 So why do we do this?     Well, with technology

 7     evolving at lightning speeds and the rise in e-

 8     learning in this information age, we wanted to create

 9     an educational incubator for aspiring entrepreneurs,

10     marketers, and dreamers.    We believe college is not

11     always the best answer for entrepreneurs, but we don’t

12     believe in going it alone is the answer either.       It’s

13     our goal to provide those starters, marketers, and

14     dreams with the shortcuts, blind spots, and tools to

15     turn their drive into a thriving, profitable digital

16     business.

17                 We’ll continue to strive to provide an

18     educational incubator and community of like-minded

19     people to share and amplify their success, to help

20     people create true freedom so they can spend more time

21     with their families, friends, and those they care most

22     about.

23                 So who is this for?     Well, a business should

24     give you more time to spend on the things you like and

25     with the people you love.    Our program was not




                                   Attachment N                           EX 41
                                                                           1911
     Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 18 of 168 Page ID
                                      #:2078
                                                                                    20


 1     designed for business people; it was designed for

 2     moms, dads, high school graduates, waiters and

 3     waitresses, passionate creatives, college dropouts,

 4     and anyone in between.   You don’t have to be a

 5     businessman or woman in a suit to have a successful

 6     company.   The world wants you and your ideas just the

 7     way you are.

 8                So how do we do this?    Well, our product

 9     line was created for those aspiring to climb the

10     mountain of success as a digital entrepreneur.        It’s

11     packed with over 100 years of combined experience and

12     success from the industry’s thought leaders and doers.

13     We have carefully crafted a product line that creates

14     not just the foundation for success, but gives you the

15     map to climb to the top every step of the way.        And we

16     will be with you every step of the way as well.

17                So this is an ascension model.     An ascension

18     model isn’t unique to us.     It’s in all Fortune 500

19     companies around the world.     Think of Apple, for

20     example.   They get you in with the iPhone.    Next thing

21     you know, you want an iPad, you want a MacBook Pro,

22     you want an iMac, you’re subscribing to iTunes and

23     downloading movies and music, so on and so forth.

24     They have multiple income streams that Apple makes,

25     right?




                                   Attachment N                           EX 41
                                                                           1912
     Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 19 of 168 Page ID
                                      #:2079
                                                                                    21


 1                 Well, now, you, by licensing the Digital

 2     Altitude products, now you get to have a tiered

 3     product mix as well.     And you get to monetize every

 4     level of budget for your customers.     Incredibly

 5     powerful.   Some customers can afford an iMac.       Some

 6     customers can only afford an iPhone.     But you get to

 7     ultimately monetize your customers at every level.

 8     That’s the power of an ascension model or a tiered

 9     product mix.

10                 And here’s a great example, as I said.      We

11     have the ASPIRE digital business system.      We have BASE

12     and RISE and ASCEND and PEAK and APEX and 42 other

13     products and services.

14                 We also have client coaches for life that

15     handhold you through a step-by-step -- through the

16     entire process.   We have five levels of coaches.

17     Right now, you’re just dealing with your startup

18     coach.   But then you’re going to have a setup and a

19     scale coach.   You’re going to have a traffic coach,

20     and then you’ll have a success coach.      We leave no one

21     behind here, and we take everyone to the top.

22                 So that is Digital Altitude.    Now, I’m going

23     to break down each one of these individually for you.

24     Again, you’re a part of the ASPIRE digital business

25     system already, you’re taking the first six steps into




                                    Attachment N                          EX 41
                                                                           1913
     Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 20 of 168 Page ID
                                      #:2080
                                                                                    22


 1     the startup course, but there is more to it, and I’m

 2     going to break it down here for you.

 3                 So a digital marketing sales system and

 4     training platform designed by seven-figure digital

 5     marketers for digital marketers.     It includes all the

 6     automation, all the sales funnels, the followup, the

 7     community, tools and resources, the affiliate tracking

 8     platform.   Everything is all built into it for -- to

 9     ensure your success.     You need a system just like the

10     McDonald’s metaphor that I described earlier.     Without

11     a system, you’re not going to have success.     So that’s

12     what ASPIRE is.     It’s the system that does all the

13     selling, telling, sifting, and sorting of all of your

14     sales prospects for you on autopilot 24 hours a day, 7

15     days a week, around the world.

16                 So what’s included with this ASPIRE digital

17     business system?    Well, part of it you’re already

18     going through.     You have your startup steps, right?

19     Then you also are -- have your private digital client-

20     for-life coaches all built in for you, right?     Your

21     seven-figure sales funnels and websites, the automated

22     sales funnels designed by seven-figure marketers to

23     automate the sales process while you’re doing other

24     things.

25                 We also have the followup sequences and




                                    Attachment N                          EX 41
                                                                           1914
     Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 21 of 168 Page ID
                                      #:2081
                                                                                    23


 1     sales automation.   All the copywriting has been

 2     written.   All the followup, all the stuff that you

 3     have seen as you came through it has all been done for

 4     you.

 5                Now, we also have all of the lessons.

 6     You’re just going through the first six, but we have

 7     another six under setup, and we have another six under

 8     scale-up, and then we have trainings.     We have traffic

 9     trainings, okay, and then we also have product

10     trainings, we have real weekly live trainings.

11                We did all of the back-end products for you.

12     We developed them over years.    Okay, we’ve done for

13     you branding solutions, we have done for you content

14     traffic, social media solutions.     All of that stuff is

15     all commissionable and done for you.     All the latest

16     tools and research, all built in for you on what’s

17     working now in internet marketing.

18                Now, we also have merchant and payroll

19     services so you don’t have to figure that stuff out.

20     It’s all done for you.   You just get the commission.

21     Support forums and live chat all built in.     Okay, we

22     have people on staff that handle all that for you.

23                Community leadership, you connect with

24     people all around the world to help lift you up.

25     You’re a part of something larger than yourself.      We




                                   Attachment N                           EX 41
                                                                           1915
     Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 22 of 168 Page ID
                                      #:2082
                                                                                    24


 1     turn leaders into legends here.     We really have it

 2     all.   You get to network.    We have live events.   We

 3     have coaching.   It’s said that your net worth is

 4     determined by your network.     And here, you’ll be able

 5     to increase your network.

 6                It’s already been proven that your income is

 7     directly proportionate to the five closest people

 8     around you.   So if everybody around you is making

 9     $20-, $30,000 a year, in all likelihood, you are, too.

10     But if all of a sudden you started surrounding

11     yourself with six- and seven-figure earners, what do

12     you think is going to happen to your income?

13                We also have all the sales funnels built in.

14     And all that is all taken care of for you, all the

15     banner ads, all of the affiliate platform, all of that

16     stuff is built in there for you as part of our sales

17     funnels, and it’s all there for you to leverage.

18                Now, the real cost of building your own

19     system, and I can tell you from experience, is

20     extremely expensive.   Having to program all of your

21     members’ area, which is right now you’re only on the

22     first six steps, but overall member areas, you’ll see

23     many things are locked.

24                It’s over 118 pages of members’ area, and

25     that all had to be programmed, affiliate tracking, and




                                    Attachment N                          EX 41
                                                                           1916
     Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 23 of 168 Page ID
                                      #:2083
                                                                                    25


 1     custom CRM, which is customer relationship management

 2     tool, very expensive, a year of internet marketing

 3     training, sales letters, email copywriting services,

 4     live chat and support services, websites built for

 5     you, daily and weekly expert calls, payroll services,

 6     banking.   The list goes on and on and on and on.      I’ve

 7     spent over a million dollars creating Digital Altitude

 8     and all the products and services, and it costs me

 9     over $100,000 a month just to run it.

10                But guess what?    For you, it doesn’t cost

11     you any of that, right?     You’re only paying $37 a

12     month right now.    And that’s the ASPIRE digital

13     business system.

14                Now, I want to introduce you to RISE, which

15     is the digital marketing mastery course, and that is

16     ultimately the next level.     So when you’re going to go

17     from ASPIRE, which is a digital business system, you

18     want to be able to license the RISE digital marketing

19     mastery course.    And what is included in this course

20     is a powerful business marketing mastery course that

21     provides basic and advanced shortcuts, tools,

22     resources to fast track your digital business’

23     success.   Okay?

24                Now, what is included?    Well, let me break

25     down the modules for you.     Section 1, we all talk




                                    Attachment N                          EX 41
                                                                           1917
     Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 24 of 168 Page ID
                                      #:2084
                                                                                    26


 1     about commitment.   We understand learning to market

 2     can be intimidating.   The modules in this section are

 3     aimed to prepare your mind and your route to get to

 4     the top, decide and commit to succeeding as a digital

 5     marketer in this information age, learn how to shift

 6     your digital marketing mind-set to guarantee your

 7     success, learn how to attract the irrational market

 8     and create a buying frenzy, learn how to find the top

 9     20 percent of your customers which is 80 percent of

10     your revenue.    Very important point.   I hope you’re

11     taking notes because you’re going to be able to dig

12     into this powerful course that is basically a brain

13     dump of mine of over 20 years of experience in sales

14     and marketing.   It’s over 20 hours of content.

15                Section 2 is customer, learn to understand

16     your customer and market so that you can provide a

17     solution to their problem and add value to their

18     lives, how to identify the emotional trigger buttons

19     in your prospects, learn how to craft and attract the

20     perfect customer 99 percent of the time, how to lower

21     customer acquisition costs by being a direct response

22     marketer, why you need to become an educational

23     marketer in this information age.

24                This knowledge, whether you promote Digital

25     Altitude or license, okay, all of our products, you




                                   Attachment N                           EX 41
                                                                           1918
     Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 25 of 168 Page ID
                                      #:2085
                                                                                    27


 1     can take this knowledge and go do whatever your

 2     passion, interests, or ideas.    This will serve as a

 3     foundation, much like a degree in college or a

 4     university would, for the future.    You’ll be able to

 5     write your paycheck for life.

 6                 Now, what else is in this module is Section

 7     3, to create.    How to create and craft your message to

 8     market and stick in the minds of your customers.

 9     Learn how to create the highest lifetime customer

10     value.    Learn how to architect a powerful and memory-

11     sticking brand name.    Does Digital Altitude sound good

12     to you?    Do you like the product names that you’ve

13     seen, ASPIRE, RISE, and ASCEND and PEAK and APEX?

14                 I came up and I crafted all of those myself

15     with the mountain as a metaphor for people to get to

16     the top of success, how to create a want inside the

17     mind of your customers instantly, how to create your

18     tiered product and marketing sequencing in seven

19     steps, how to create a free trip wire, which is a

20     small front-end product to increase your customer

21     base.

22                 Section 4 is all about copywriting and

23     words.    Learn how to write and pull in your prospects

24     with powerful pulling words so they can run to your

25     offers.    Discover the highest converting headline




                                   Attachment N                           EX 41
                                                                           1919
     Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 26 of 168 Page ID
                                      #:2086
                                                                                    28


 1     hacks that are working now, how to create instant

 2     credibility with your personal story and message, how

 3     to write copy that sells anything instantly, how to

 4     craft the perfect marketing message to attract the

 5     perfect customer.    This is all packed into this

 6     course, over 20 hours of content and training.

 7                 Number 5 is all about partners, learning how

 8     to leverage joint ventures and other people’s lists,

 9     and how to become an authority and get people chasing

10     you down, how to create easy ads and marketing that

11     gets instant response, how to partner with others to

12     promote your products and services, how to get more

13     referrals in three simple steps.

14                 Now, the digital marketing mastery course,

15     the retail value to license and to get this course is

16     over $2,400, okay?    But there’s a limited time

17     discount.   You can get a $500 discount for only

18     $1,997, $1,997 gets you not only the RISE digital

19     marketing mastery course, but you also get to license

20     and resell this marketing course through the ASPIRE

21     digital business system, okay?

22                 So what does that mean exactly?   Well, I’m

23     going to break it down here for you.    Now, that was,

24     again, RISE digital marketing mastery course.       I’m

25     also going to bundle in BASE for you as well, okay?




                                   Attachment N                           EX 41
                                                                           1920
     Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 27 of 168 Page ID
                                      #:2087
                                                                                    29


 1     You’re going to get BASE as a free bonus, the digital

 2     business mastery course.     And what is in this?     It’s a

 3     foundational business basics course for online digital

 4     marketers that provides the shortcuts, tools, and

 5     resources to fast track your digital business’

 6     success.

 7                  Now, what’s included in this is the ability

 8     to help you understand starting a new business can be

 9     intimidating, first and foremost.     The modules in this

10     section are aimed to prepare your mind and plan your

11     route.     So in Module 1, you’re going to learn how to

12     set up your personal preparation and develop your

13     business goals.     Extremely important if you’re going

14     to take your business seriously and you do want to get

15     to six figures.

16                  How to set up essential business planning

17     and legal entities, business banking, and proper

18     accounting.     It may sound boring, but I can tell you

19     that we -- we’ll absolutely ensure your success.        And

20     I try not to make it very boring in the module, so

21     you’re going to enjoy it.

22                  Crafting a brand, one of my passions, and

23     design that captivates and sells seamlessly.        It’s all

24     bundled into this as well.     How to architect a

25     beautiful website, a blog, and social media presence.




                                    Attachment N                          EX 41
                                                                           1921
     Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 28 of 168 Page ID
                                      #:2088
                                                                                    30


 1     You’re going to learn all of that.    Again, whatever

 2     your passion, interest, or ideas, this is going to

 3     serve you.

 4                  Okay, we’re all going to talk about

 5     launching your business with this new section.     These

 6     modules are heavily focused on our strategy,

 7     sustaining the first three months of your business.

 8     You’re going to learn how to launch your digital

 9     business loud so they come running.    You’re going to

10     learn how to create an awesome social media campaign

11     to get the word out.    You’re going to learn the five

12     key things to know about analytics, tools, and

13     reporting.    And you’re going to learn about the five

14     must-dos when launching a business.

15                  Now, Section 3 is all about growth.   Your

16     business is up and running.    Growth might be slow, but

17     it’s steady.    This section is focused on optimization,

18     strength, and low-term success.    You’re going to learn

19     how to run lean, bootstrap, and optimize your business

20     for long-term profits.     You’re going to learn how to

21     create a captivating customer experience so they stay

22     with you for years.     How to build a cult-like tribe

23     that follows you everywhere you go.     Learn how to

24     build automated systems for personal time freedom.

25     Incredibly powerful content here.




                                    Attachment N                          EX 41
                                                                           1922
     Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 29 of 168 Page ID
                                      #:2089
                                                                                    31


 1                Now, the digital business mastery course,

 2     the retail value of that is over $700, but guess what?

 3     I’m going to bundle it in with RISE for you for zero

 4     dollars.   You’re going to get it for free as a part of

 5     licensing the RISE digital marketing mastery course,

 6     tied to the ASPIRE digital business system.

 7                Okay, so, again, BASE is a free bonus

 8     digital business mastery course.    So what does this

 9     look like bundled?   Well, let me break it down here

10     for you.   You combine the value of RISE and BASE, it’s

11     over $3,200, but I’m going to give you a $1,200

12     discount for only $1,997, okay?     So, for $1,997, plus

13     $67 a month to continue on with the ASPIRE digital

14     business system, and then you get to license the BASE

15     product and the RISE product.

16                So not only do you get those products, but

17     you also get to resell those products, okay?     So

18     you’re licensing the right to resell these products.

19     And why is that important?    Because it’s going to pay

20     you a commission, a very big commission, and let me

21     break it down here for you.     So get with your coach,

22     $1,997, he’ll break it all down for you and walk you

23     through your strategy session and show you how to

24     leverage the commissions and how to reach your goals

25     by reselling the RISE and BASE products, okay?




                                    Attachment N                          EX 41
                                                                           1923
     Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 30 of 168 Page ID
                                      #:2090
                                                                                    32


 1                So what does that look like?     Well, I’m

 2     going to break it down here for you with a little

 3     spreadsheet here so you’re clear.     The 500 number that

 4     you see on the left are leads, name and email

 5     addresses, okay?     Remember as I described earlier

 6     through the previous steps, you have to get people to

 7     your website.     The more people you get to your

 8     website, the more name and email addresses they’re

 9     going to put in.     And if you get 500 names and email

10     addresses, this is what it would look like for ASPIRE

11     and RISE, okay?

12                These are if you license the RISE product.

13     Okay, again, I’m going to bundle in BASE automatically

14     for you at 1,997, but as you know, ASPIRE is a $37-a-

15     month product.     Now, if 5 percent of those 500 people

16     on the left come through, which is where our

17     conversions are now, 25 out of those 500 people are

18     going to come in, and you’re going to earn a $15

19     commission.     You’re going to make $375, okay, on a

20     monthly basis, and that will begin to stack up.        But

21     if you want to take your income to the next level, if

22     you were looking to get to $5-, $6-, $7-, $10,000 a

23     month, you have to license RISE, okay?     Which, again,

24     includes BASE as a bundled bonus, okay?

25                So what do I mean by that?     Because out of




                                    Attachment N                          EX 41
                                                                           1924
     Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 31 of 168 Page ID
                                      #:2091
                                                                                    33


 1     those 25 new ASPIRE members that you see the 25 there,

 2     seven of them, about 30 percent, convert, okay, are

 3     going to become RISE members.     And you are going to

 4     earn up to a $1,200 commission, okay?     Now, in -- now,

 5     out of all of that, that adds up to $8,400, seven

 6     times 1,200 is $8,400.     You add on the 375, you’re at

 7     8,775.     That’s how you make $5-, $6-, $7,000, $8,000,

 8     $10,000 a month, okay?

 9                  But you have to get people through the

10     ASPIRE digital business system, and then they come

11     through the presentation just like you’ve come

12     through, and then they purchase the RISE product.        But

13     you have to license the RISE product.     You, yourself,

14     have to be a product of the product.     There’s no

15     integrity in obviously selling something that you,

16     yourself, have never experienced or even know about,

17     right?     It’s kind of like the guy selling you a BMW

18     but he drives a Hyundai, right?

19                  There’s just not a lot of integrity in it.

20     So you want to make sure that you license this RISE

21     product.     Do whatever you can to get to this 1,997.

22     There is a lot of options.     Your coach will break it

23     down for you.     We have financing options.   Okay, there

24     are all kinds of different ways to collect capital and

25     to find -- every business on the planet has had to




                                    Attachment N                          EX 41
                                                                           1925
     Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 32 of 168 Page ID
                                      #:2092
                                                                                    34


 1     borrow money to start up their online business or

 2     offline business, okay?    Financing, 96 percent, I

 3     think, is the number, somewhere around there, of every

 4     single business ever started in the world has had to

 5     borrow the money, and/or, to get it running.

 6                 So if you don’t have it, don’t worry about

 7     it.   Talk with your coach.   He’ll give you some

 8     options.    We have some financing options in place that

 9     can help you, but if you want to get off and running

10     here and you want to make $5-, $6-, $7-, $8,000,

11     $10,000 a month, you have to license RISE.     ASPIRE

12     will not cut it for you because you’re only making

13     $375, okay, because you’re not going to qualify for

14     the RISE.

15                 So make sure that you are getting the RISE

16     product bundle here that funnels BASE in and get

17     positioned, get the ability to license that product so

18     you can earn that commission.     If you stay at ASPIRE,

19     you’re not going to make enough money to really even

20     be here and for it to make sense for you and for it to

21     be profitable.    A scenario for you.

22                 So then we’ll talk about later you’re going

23     to learn about ASCEND, which is if you want to

24     increase your income up to $26,000 a month.     We’ll

25     talk to you about ASCEND, okay?     That’s on, I think,




                                     Attachment N                         EX 41
                                                                           1926
     Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 33 of 168 Page ID
                                      #:2093
                                                                                    35


 1     Step 9.     You will get to that.    And then also PEAK, if

 2     you want to take your income up to $40-, $50,000 a

 3     month, we’ll talk about PEAK with you.       And then if

 4     you want to take APEX, okay -- again, not everybody

 5     wants to earn 26,000, 47,000, or 63,000.       Again, you

 6     know, or -- actually, they probably want to, but they

 7     may not need to for whatever reason, but ultimately

 8     it’s there, it’s available, again, tiered product mix.

 9                  Something for -- remember the iMac, remember

10     the MacBook Pro, remember the iPad, remember the

11     iPhone?     Okay, these are all examples of that.    Okay,

12     so, I’m going to break down for you what that exactly

13     looks like, but ultimately we’ll talk to you about

14     ASCEND, PEAK, and APEX later.       If it’s within your

15     budget, if it’s all possible, and you want to increase

16     your income, you can do it with those products as

17     well.     And those include some powerful products that

18     I’ll break down for you.

19                  But right now, I want you to focus on RISE.

20     You have to position yourself at RISE to earn this

21     $8,000 a month.     So keep that in mind, and talk to

22     your coach.     Talk about financing, talk about all your

23     options, and this is how you’re going to get up the

24     mountain.     This is how we’re going to help you get up

25     the mountain, is get you positioned to a place where




                                    Attachment N                          EX 41
                                                                           1927
     Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 34 of 168 Page ID
                                      #:2094
                                                                                    36


 1     you can be earning, $5-, $6-, $7-, $8-, $9-, $10,000 a

 2     month with the RISE product.     So talk to your coach.

 3                  I’m going to move on here and break down

 4     some things here for you, some more things that I

 5     think are important.    So, again, also one of the key

 6     things that you need to understand is -- I’m going to

 7     break this down for your.    Go back, there we go, is

 8     that, again, if you don’t have the APEX, that 63,000

 9     goes away, PEAK goes away, ASCEND goes away.

10                  So, again, to license, you have to license

11     that product, and then you have the ability to resell

12     that product.    And, so, right now, it’s important that

13     you understand that RISE is where you want to be and

14     where you want to go.    Don’t worry about any of the

15     others.    You know, they’ll talk to you about it later.

16     If it’s within your budget, you can do those, but

17     ultimately, as I know, most people want to make $5-,

18     $6-, $7-, $8-, $10,000 a month.    If it’s possible for

19     them to make $20-, $30-, $40-, $50,000 a month, we can

20     have those conversations later.        But, ultimately,

21     right now, let’s get you to $10,000 a month.       That’s

22     what’s important.     That’s what RISE can do for you.

23                  So let’s move on here to our next slide

24     here.     Again, talk to your coach.    Retail value, over

25     $3,000.     You’re going to get a limited-time-only




                                    Attachment N                          EX 41
                                                                           1928
     Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 35 of 168 Page ID
                                      #:2095
                                                                                    37


 1     discount for $1,200.   I would jump on it ASAP because

 2     if you wait too long, it will jump up for you, and you

 3     don’t want to bypass that away.    So, 1,997, talk to

 4     your coach about financing, other options.    He’ll give

 5     you all kinds of ideas, 67 a month is the commitment

 6     to the ASPIRE digital business system.

 7                 So that is RISE digital marketing mastery

 8     course.   I want to break down a couple of other things

 9     for you so you’re clear.   I think you remember when I

10     talked before about owning your own, you know,

11     electronics store or iPhone store or, you know, cell

12     phone store.   And if you had iPhones in there, you’re,

13     of course, licensing the iPhone brand, you want to

14     have those iPhones in there, you see this all over the

15     place, you know, you’re able to buy it from Best Buy

16     or you’re able to go to different places, not just the

17     Apple store, but you can get the iPhone in a number of

18     different places because they have -- they are

19     authorized dealers or they have licensed the Apple

20     brand.

21                 So let’s just say a big leader or somebody,

22     a new entrepreneur came in and he wants to buy 50

23     iPhones for all of his employees.     Well, at $100

24     apiece, okay, you’re going to make $5,000, which is

25     great.    That’s perfect, right?   That’s like ASPIRE or




                                   Attachment N                           EX 41
                                                                           1929
     Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 36 of 168 Page ID
                                      #:2096
                                                                                    38


 1     the RISE, right?    You’re making a lot of money there.

 2     But he also needs 25 iPads, and at $500 apiece, you’re

 3     going to make potentially 12,500.    He also wants some

 4     MacBook Pros for some of his management, and at $1,500

 5     apiece, your revenue could be 18,000.     And he wants

 6     six for his core management of the iMacs at $3,500

 7     apiece.   That would be $21,000, right?

 8                But let’s just say that you are licensing

 9     the iPhone and you didn’t license the iMac, you didn’t

10     license the MacBook Pro, you didn’t license the iPad,

11     so really you only made 5,000 instead of the 50,000

12     that you could have made if you had licensed those

13     other products, okay?    That’s the same exact example

14     of the ASPIRE, RISE, ASCEND, PEAK, and APEX examples,

15     okay?

16                Now, again, RISE can take you to $10,000 a

17     month, and you definitely want to get -- do anything

18     that’s possible to get there.    That’s going to help

19     you get up the mountain, but just like climbing

20     Everest, you’ve got to have your gear, right?     You got

21     to pay for the flight.    You got to get the helicopter.

22     You got to pay for the mules and all the people that

23     help you pack it.   Every business and everything on

24     the world costs money, okay?    It’s all going to cost

25     money to get it off and running and to get up the hill




                                   Attachment N                           EX 41
                                                                           1930
     Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 37 of 168 Page ID
                                      #:2097
                                                                                    39


 1     and up the gates -- out the gates, you know, if you

 2     will.

 3                  But you’re going to now do something that

 4     you’ve never done, and you are going to now get in

 5     results that you’ve never had.     So to get results

 6     you’ve never had, you have to do things you’ve never

 7     done.   And that’s what we’re going to talk to you

 8     about in our strategy session, so get with your coach.

 9                  Also, keep in mind that a percentage of your

10     team is going to upgrade to those products whether you

11     do or not.     So if you are not licensed at the RISE, at

12     the ASCEND, PEAK, or APEX levels, then you are going

13     to pass up those commissions to the person who brought

14     you in, okay?     So keep that in mind.   You will lose

15     those commissions.     That’s incredibly powerful.

16                  So -- but one of the key things is is that

17     you’re going to be spending the same amount of

18     marketing and advertising just to get those ASPIRE

19     members.     So you want to make sure that you’re

20     capitalizing on the RISE members; you want to make

21     sure you’re capitalizing on your ASCEND, PEAK, and

22     APEX if possible as well.     Okay, otherwise, those

23     commissions are going to pass up.     A percentage will

24     upgrade, whether you do or not.

25                  It’s also why Apple is one of the most




                                    Attachment N                          EX 41
                                                                           1931
     Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 38 of 168 Page ID
                                      #:2098
                                                                                    40


 1     valuable companies in the world because of that tiered

 2     product mix, okay?     So, now, if you spend any time in

 3     marketing alone, you’ve probably heard people say that

 4     money is in the list.     This is kind of a blanket

 5     statement.    Let’s examine it for a second, though,

 6     because your list is a list of email addresses or

 7     potential customers.     They’ve opted in, just like you

 8     did.    They put in their name and email address.

 9                  Now, you have their email address.   They

10     have shown some interest.     There is money in that

11     list.    You now have the right to follow up and put all

12     the funnels in place, but you got to put those funnels

13     in place first.    You’ve already experienced this

14     yourself.    When you joined ASPIRE, your login and

15     welcome emails we sent you automatically.     It also

16     triggered reminder sequences that you’ve been getting

17     to remind you to go through the steps.

18                  We’ve only had to write the emails once, and

19     everyone joins -- who joins sees those messages.         It’s

20     all automated for you.     Okay, that’s all set up and

21     ready to go.    The retail products automatically

22     available within the Digital Altitude and the ASPIRE

23     business system are the tools used to monetize your

24     list.    The Digital Altitude system and ASPIRE system

25     do all the hard work for you.




                                    Attachment N                          EX 41
                                                                           1932
     Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 39 of 168 Page ID
                                      #:2099
                                                                                    41


 1                 The system overcomes the major traditional

 2     obstacles of time and numbers by taking all of your

 3     leads, turning the hot ones into cash for your

 4     business.   For everyone not interested, the system

 5     sends out reminder emails to encourage them to join,

 6     which adds even more cash.      The fortune is in the

 7     followup, and that’s what the ASPIRE digital business

 8     system is all for.

 9                 Now, when you enjoin the Digital Altitudes,

10     okay, and you license RISE, you’re already a part of

11     the ASPIRE digital business system, but now when you

12     license the rest of the ASPIRE digital business system

13     and bundle it with the RISE, ASCEND, PEAK, and APEX

14     products, now you have a world-class marketing

15     platform, high-ticket products, superior training,

16     highly qualified support and sales team, all there to

17     assist you.

18                 Remember, the higher the level you go, the

19     faster you earn because the bigger the commission.      So

20     when you bring someone in who signs up for the ASPIRE

21     program, okay, and we pay that 37 -- or we -- it’s $37

22     a month, and every single person that’s going to come

23     through you’re going to get a percentage of that.

24     That $15 is going to stack up every single month,

25     every single client.    Okay?    So no -- no further work




                                    Attachment N                          EX 41
                                                                           1933
     Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 40 of 168 Page ID
                                      #:2100
                                                                                    42


 1     or followup is required.

 2                It’s a residual income stream.   As long as

 3     they’re a paying member, you get the residual

 4     commission.   And guess what, you only need to get a

 5     handful of people so your membership’s paid for.     I

 6     know there’s the phrase, the free money out there, but

 7     tell me, if you sign up 100 people and you get a check

 8     for, you know, $10,000, without ever having to really

 9     work for it because the coaches are doing all of the

10     sales for you, the system’s doing all the selling and

11     telling for you, would that be like free money?    Well,

12     I think so.

13                Still, hold onto your hats, because it gets

14     even better here.   Now, you’re going to earn, okay,

15     and you’re going to make over a $1,000 commission.

16     Like I said before, every time that our phone sales

17     team follows up and gets you a sale of your Digital

18     Altitude or RISE system or -- and product, that’s

19     going to make you $1,000 -- up to $1,000 -- $1,200

20     commission.   This is how you’re going to earn as you

21     learn.   That’s the whole goal of this.   While you’re

22     learning this, while you’re actually going through

23     those core products that I just showed you, you’re

24     also going to be able to learn at the same time.

25                But before you make your decision, let me




                                   Attachment N                           EX 41
                                                                           1934
     Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 41 of 168 Page ID
                                      #:2101
                                                                                    43


 1     share with you something that will erase any doubt for

 2     you that you are in the right place.      It’s proven that

 3     when you call your customers and -- your sales go up,

 4     yet who really likes to call and sell people, right?

 5     Well, with our new program, personal followup is

 6     critical.     In fact, you can easily double your income

 7     just by getting on the phone with your clients.

 8                  Yet, seriously, who likes to do that?          Well,

 9     we do.    In fact, we have an entire in-house

10     professionally trained sales team, and once you start

11     advertising, guess what?     Our sales team will do all

12     of the calling for you.     Why?   Because personal

13     followup is critical.     It’s everything.    That’s how

14     you’re going to convert leads into money.       Most

15     business owners aren’t willing to do that.       They’re

16     not reaching out to their leads talking to them one-

17     on-one, selling them, and they are leaving a ton of

18     money on the table.

19                  This is where Digital Altitude is very

20     unique.     We are one of the few companies that actually

21     -- as far as I know, we’re the only company that

22     actually does this.     We call back your leads.       We

23     qualify them, and we offer them our programs if it’s

24     appropriate.     We do all the selling for you on your

25     behalf.     Then you just get a commission.




                                    Attachment N                           EX 41
                                                                            1935
     Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 42 of 168 Page ID
                                      #:2102
                                                                                    44


 1                 All members of the ASPIRE digital marketing

 2     system, once they come onboard, they are automatically

 3     enrolled, okay, in the program.    What this is -- means

 4     is that they have a whole team of six- and seven-

 5     figure earners actually on the phone making all the

 6     sales for them.    With the sales partner program, this

 7     actually increases the appeal to your business that

 8     has potential customers or even new partners or

 9     members.    When they see the level of support and

10     leadership that Digital Altitude provides, they feel

11     much more comfortable with getting involved.

12                 When it’s done right, it comes across as

13     very natural, but it’s anything but easy.    Phone

14     selling is one of the most intimidating

15     responsibilities for most online business owners.      We

16     find that most new partners that get involved with

17     Digital Altitude, they want to -- don’t want to be on

18     the phone all day.    They know that they could do it,

19     and they could get bigger commissions by doing it, but

20     they would have -- rather have the professionals do it

21     for them.

22                 This also increases the appeal for any new

23     customers who join because they realize that they

24     won’t have to do any of the calls themselves.     When

25     they discover that they are calling back their leads,




                                   Attachment N                           EX 41
                                                                           1936
     Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 43 of 168 Page ID
                                      #:2103
                                                                                    45


 1     all done for them, that is very appealing to them

 2     because it’s very hands-off and it leverages their

 3     time.

 4                 Now, don’t get the wrong idea here.      I’m not

 5     telling you that you should never do your own phone

 6     followup.   A lot of people that we have in Digital

 7     Altitude have made a lot of money doing their own

 8     phone sales.    For most of our partners who are just

 9     starting, though, we do recommend that you leverage

10     our sales assistance program, which, again, is our

11     phone sales team.    And they help, you know, make the

12     sale for you.

13                 Now, let us do this part.   Let -- get your

14     first few commissions under your belt, and then if you

15     want to do it yourself, you can do it.    But we handle

16     all the automated -- automated followups.     We handle

17     everything here, okay?    This is one of the beautiful

18     things about this, and we have literally seen in some

19     cases the amount of commissions that partners made

20     increase by over 400 percent.

21                 So why is that?   Again, it’s most new

22     members don’t know how to do phone sales.    By having

23     some of the best of the industry and phone sales

24     professionals do the calls for the new member and they

25     get a percentage, we found that the new member was a




                                     Attachment N                         EX 41
                                                                           1937
     Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 44 of 168 Page ID
                                      #:2104
                                                                                    46


 1     much better way of them doing it.    They made a lot

 2     more money that way.

 3                So we do all the different calls for you,

 4     the lead inquiries, the pre-membership calls, the

 5     orientation calls, the strategy sessions, the business

 6     plan calls, okay?   We do the marketing plan calls, the

 7     funding calls, the member support calls, the -- you

 8     know, the member support emails.    It all is handled

 9     for you.   Followup can take five to ten hours over a

10     two- to four-week period.   It’s all done for you, so

11     bring as many leads through the process as possible,

12     and we will do all of the handholding for you.

13                Seventy-five percent of your total revenue,

14     your total commissions, will come from the phone team.

15     You can earn up to $24,000 in commissions for each

16     person you introduce to the sales funnel.    And when

17     you do, you’ll earn a lot more money than you’ve ever

18     earned in your life.   You can earn $1,000 commissions,

19     5,000, 7,500.   You can earn to up to $12,000 in

20     commissions.

21                Now, you may opt out if you don’t want the

22     phone team to handle it, if you’re a professional.

23     But I highly recommend that you keep it.    So a lot of

24     people ask us how long will I need sales assist --

25     well, some people want to be able to leverage the




                                   Attachment N                           EX 41
                                                                           1938
     Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 45 of 168 Page ID
                                      #:2105
                                                                                    47


 1     phone sales professionals for life, and I highly

 2     recommend it, but everyone is different.     Aim to be

 3     completely independent of your business within the

 4     first year, okay?

 5                Have someone else do it for you.     We follow

 6     up and provide all the support.     We have all of the

 7     Facebook groups.    Everything is all built in there for

 8     you.   We do live events.    We have special deals in our

 9     live events.   We have live coaching.    All of that

10     stuff is built in there for you.

11                We track all the sales for you so you can

12     see, you know, what -- what campaign came through.

13     You can see what -- you know, who earned, you can see

14     the notes, you can see what step your people are on.

15     All of that stuff is all built in for you.     It’s

16     highly automated and very -- very basically tech-

17     savvy, and we have it all figured out for you so you

18     don’t have to.

19                You send in the leads; we close the high-

20     ticket offers for you.      It’s just that simple.    Earn

21     that $1,000, $3,000, $5,000, $12,000 in commissions.

22     It’s all done for you.      It’s all part of the Digital

23     Altitude system, and you have to license the RISE

24     product initially to -- to get off and running here.

25                Now, our interests are aligned with yours




                                     Attachment N                         EX 41
                                                                           1939
     Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 46 of 168 Page ID
                                      #:2106
                                                                                    48


 1     with this system.    When you’re making sales, then

 2     we’re actually also making sales, too.    So our phone

 3     sales team, they’re getting a commission, the

 4     company’s doing well, and you’re doing well.       That’s

 5     why we have all of our support systems and everything

 6     in place because it’s designed to give you the best

 7     possible chance of succeeding and getting to the top.

 8                The reason why most people fail online

 9     marketing is they tend to overcomplicate everything.

10     They try and do all of this on their own.       They get

11     distracted by shiny objects.    You might be wondering

12     if this system is going to do just about all the work

13     for you and follow up and do all the phone calls and

14     all that good stuff.    Well, I can tell you it’s not

15     really about what you’re meant to be doing; it’s about

16     what you now own, like a McDonald’s, right?       The

17     system is there.    All the people are there.     All the

18     tools are there, and it’s all running on autopilot for

19     you.

20                You will own your very own powerful and

21     unique system that does all of this for you.       All you

22     need to do is generate the leads, and we help you do

23     that.   And then the system will take over from there.

24     You will be one to earn all of the commissions, okay?

25                The whole point of this business is for you




                                   Attachment N                           EX 41
                                                                           1940
     Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 47 of 168 Page ID
                                      #:2107
                                                                                    49


 1     to be able to leverage it so you’ll be able to live

 2     your ideal lifestyle.   That’s why you’re here, and

 3     that’s what our company is really for.     You can wake

 4     up whenever you want, work from home, Starbuck’s,

 5     wherever you want, and also travel the world and be

 6     able to work from your laptop.    That’s the whole point

 7     of what we’re trying to do here for you.

 8                To get started, all you have to do is call

 9     your coach, your startup coach, and discuss your

10     funding and financing options and how to get licensed

11     for the RISE product so you can capitalize on those

12     large commissions when you bring people through the

13     ASPIRE digital business system.

14                So to get started, you can call your coach,

15     click the link -- the button, fill out the form below

16     this video, and call your coach, get off and running,

17     and I will see you on the next step.     I look forward

18     to it.   We’re going to get into some big stuff here

19     under setup, and I’ll see you there.     Take care.

20                (The recording was concluded.)

21

22

23

24

25




                                   Attachment N                           EX 41
                                                                           1941
     Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 48 of 168 Page ID
                                      #:2108
                                                                                    50


 1                  CERTIFICATE OF TRANSCRIPTIONIST

 2

 3

 4                I, Sara J. Vance, do hereby certify that the

 5     foregoing proceedings and/or conversations were

 6     transcribed by me via CD, videotape, audiotape or

 7     digital recording, and reduced to typewriting under my

 8     supervision; that I had no role in the recording of

 9     this material; and that it has been transcribed to the

10     best of my ability given the quality and clarity of

11     the recording media.

12                I further certify that I am neither counsel

13     for, related to, nor employed by any of the parties to

14     the action in which these proceedings were

15     transcribed; and further, that I am not a relative or

16     employee of any attorney or counsel employed by the

17     parties hereto, nor financially or otherwise

18     interested in the outcome of the action.

19

20

21     DATE:   11/6/2017

22                               SARA J. VANCE, CERT

23

24

25




                                   Attachment N                           EX 41
                                                                           1942
     Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 49 of 168 Page ID
                                      #:2109
                                                                                    1


 1                  OFFICIAL TRANSCRIPT PROCEEDING
 2
                       FEDERAL TRADE COMMISSION
 3
 4
 5
       MATTER NO.      1723060
 6
       TITLE           DIGITAL ALTITUDE
 7
       DATE            RECORDED:   AUGUST 29, 2017
 8                     TRANSCRIBED:   OCTOBER 27, 2017
 9     PAGES           1 THROUGH 11
10
11
12                   2017-8-29 0138pm (Call w S1)
13
14
15
16
17
18
19
20
21
22
23
24                     For The Record, Inc.
25      (301) 870-8025 - www.ftrinc.net - (800) 921-5555




                                   Attachment O                           EX 41
                                                                           1943
     Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 50 of 168 Page ID
                                      #:2110
                                                                                    2


 1                     FEDERAL TRADE COMMISSION

 2                             I N D E X

 3

 4     RECORDING:                                        PAGE:

 5     2017-8-29 0138pm (Call w S1)                          4

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25




                                   Attachment O                           EX 41
                                                                           1944
     Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 51 of 168 Page ID
                                      #:2111
                                                                                    3


 1                     FEDERAL TRADE COMMISSION

 2

 3     In the Matter of:               )

 4     Digital Altitude                )   Matter No. 1723060

 5                                     )

 6     ------------------------------)

 7                                     August 29, 2017

 8

 9

10

11                The following transcript was produced from a

12     digital file provided to For The Record, Inc. on

13     October 17, 2017.

14

15

16

17

18

19

20

21

22

23

24

25




                                   Attachment O                           EX 41
                                                                           1945
     Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 52 of 168 Page ID
                                      #:2112
                                                                                    4


 1                       P R O C E E D I N G S

 2                       -       -         -    -    -

 3                                Call w S1

 4                MR. TYNDALL:       My name is Reeve Tyndall.       I’m

 5     an investigator with the Federal Trade Commission.

 6     This is an undercover Skype call to Corata Mussuka on

 7     August 29th, 2017, at 1:38 p.m., Eastern time.

 8                (Brief pause.)

 9                MR. TYNDALL:       Trying again.

10                Trying again.

11                Trying again.

12

13                MR. TYNDALL:       Hello?

14                COACH GORATA:       Hello.

15                MR. TYNDALL:       Hello?

16                COACH GORATA:       Hello.    Hello, hi, can you

17     hear me?

18                MR. TYNDALL:       Yeah, I can hear you.    Can you

19     hear me?

20                COACH GORATA:       I can.

21                MR. TYNDALL:       Hi.

22                COACH GORATA:       How are you?

23                MR. TYNDALL:       Good.     How are you doing?

24                COACH GORATA:       How can I help?

25                MR. TYNDALL:       I -- I completed Step 6.




                                       Attachment O                        EX 41
                                                                            1946
     Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 53 of 168 Page ID
                                      #:2113
                                                                                    5


 1                COACH GORATA:    You have, okay.       Were you

 2     able to -- you completed Step 6, and the next thing

 3     you need to do is just book a strategy session with

 4     me.

 5                MR. TYNDALL:    Okay.    I didn’t --

 6                COACH GORATA:    Okay?

 7                MR. TYNDALL:    How do I do that?

 8                COACH GORATA:    So you go under Step 6, just

 9     right under that video.    You can just go ahead and you

10     will book it from there.

11                MR. TYNDALL:    Okay.    Right in Step 6?

12                COACH GORATA:    Yes.    Right on Step 6, yes.

13                MR. TYNDALL:    I don’t see how to do that.

14     I’m on Step 6 right now.

15                COACH GORATA:    Okay, so it’s just saying

16     book your strategy session here.

17                MR. TYNDALL:    Let’s see.

18                COACH GORATA:    Okay, so, if you can’t find

19     it, what I can do is that I can basically -- seeing as

20     I’m actually driving right now --

21                MR. TYNDALL:    Okay.

22                COACH GORATA:    -- so when I get to where I’m

23     going, I will just basically go ahead and send you the

24     link to my -- my calendar for strategy sessions.

25                MR. TYNDALL:    Okay.




                                    Attachment O                          EX 41
                                                                           1947
     Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 54 of 168 Page ID
                                      #:2114
                                                                                    6


 1                COACH GORATA:     Okay?   All right?

 2                MR. TYNDALL:     Okay.

 3                COACH GORATA:     Awesome.    Congratulations on

 4     getting to Step 6, by the way, and I’ll speak to you

 5     as soon as you book that session, okay?

 6                MR. TYNDALL:     Oh, okay.    I had a question.

 7                COACH GORATA:     Sure.

 8                MR. TYNDALL:     I got an email from Michael

 9     Force about a digital marketing mastery course.

10                COACH GORATA:     Uh-huh.

11                MR. TYNDALL:     Is that something I -- I

12     should sign up for?

13                COACH GORATA:     Is that something that you --

14     you did what?   Sorry.     Say that again.

15                MR. TYNDALL:     Is that something I should

16     sign up for?

17                COACH GORATA:     Is that something that you’re

18     going to be signing up for?

19                MR. TYNDALL:     Yeah.

20                COACH GORATA:     Okay.     Great question.   So,

21     basically, what you will be doing is that you are

22     going to, you know, basically get that through -- our

23     digital marketing mastery courses are just basically

24     different courses as compared to, you know, just the

25     RISE course.    So it’s a different course altogether.




                                     Attachment O                         EX 41
                                                                           1948
     Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 55 of 168 Page ID
                                      #:2115
                                                                                    7


 1                  MR. TYNDALL:    Okay.

 2                  COACH GORATA:    Okay?    So this is where you -

 3     - if you want to really master the digital marketing,

 4     then you basically want to get that course.

 5                  MR. TYNDALL:    Okay.    When -- when --

 6                  COACH GORATA:   Okay?

 7                  MR. TYNDALL:    -- can I start making money?

 8                  COACH GORATA:   Well, number one, the major

 9     thing is we have a strategy session, get you

10     positioned for profit, and you are going to, depending

11     on how our strategy session goes, it can either go

12     both -- either way.    You know, then you will start --

13     you know, either do this on your own or, you know,

14     have a -- a coach to -- to basically -- one of our

15     million -- millionaire coaches is basically going to

16     be with you.    And then we are basically going to go

17     ahead and, you know, teach you how to do everything

18     basically at -- you know, just basically handhold you,

19     per se.     Okay?

20                  Now, once you finish -- once you complete

21     training with him, then you then will be ready to

22     start marketing.     Okay, now, as far as results,

23     results do vary.     We have people who are actually able

24     to start making money within a week or two of

25     starting.     You know, some people, you know, it will




                                      Attachment O                        EX 41
                                                                           1949
     Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 56 of 168 Page ID
                                      #:2116
                                                                                    8


 1     take them longer, so it just really does depend on a

 2     lot of things.   It depends, number one, how you are

 3     you positioned; number two, if you do implement the

 4     strategies and if you are consistent.         So I just want

 5     you to know it -- it’s definitely not a lottery

 6     ticket, you know, and it’s not, you know, whatever,

 7     but it is a system that if you follow it, then you

 8     will get results.

 9                MR. TYNDALL:    Okay.    So I --

10                COACH GORATA:    Okay?

11                MR. TYNDALL:    -- I’ll work with a coach, you

12     said?

13                COACH GORATA:    Yes.    So we do have our

14     seven-figure income earner coaches.

15                MR. TYNDALL:    Okay.

16                COACH GORATA:    Okay?    And that’s essentially

17     who you will work with from Step 7 until Step 18.

18                MR. TYNDALL:    Okay.

19                COACH GORATA:    Okay?    So --

20                MR. TYNDALL:    And what -- what are they

21     going to show me how to do?

22                COACH GORATA:    They’re going to show you how

23     to work the system, so essentially the marketing,

24     putting together a business plan with you and for you,

25     and all that good stuff.




                                    Attachment O                          EX 41
                                                                           1950
     Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 57 of 168 Page ID
                                      #:2117
                                                                                    9


 1                MR. TYNDALL:    Okay.

 2                COACH GORATA:    But I will talk more in

 3     detail about it over a strategy.

 4                MR. TYNDALL:    Okay.     Is this -- am I setting

 5     up my own business?

 6                COACH GORATA:    No.     So it’s not you setting

 7     up your own business, per se, which you can, if you

 8     want to.   But we do have the system already set up for

 9     you, so you don’t have to start your own business, per

10     se.

11                MR. TYNDALL:    Oh, okay.     Okay.

12                COACH GORATA:    So -- yeah.

13                MR. TYNDALL:    Okay.

14                COACH GORATA:    Okay?

15                MR. TYNDALL:    Well, so, are you going to

16     email me the -- the link --

17                COACH GORATA:    I’m going to send it to you

18     right here on Skype.     I’m actually parked now.

19                MR. TYNDALL:    Okay.

20                COACH GORATA:    And let me do that right away

21     for you.   Okay?

22                All right, awesome.       So I do -- I sent you

23     the link on Skype.     So you just basically want to go

24     ahead and book the strategy session from here.       Okay?

25                MR. TYNDALL:    Okay.     I don’t actual -- I




                                    Attachment O                          EX 41
                                                                           1951
     Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 58 of 168 Page ID
                                      #:2118
                                                                                    10


 1     don’t see it on -- on -- on Skype.

 2                COACH GORATA:    Once -- yeah, once we hang

 3     up, you’ll be able to see it on Skype.

 4                MR. TYNDALL:    Okay.   Okay.

 5                COACH GORATA:    All right.

 6                MR. TYNDALL:    Thanks so much.

 7                COACH GORATA:    Thank you.     You’re welcome.

 8                MR. TYNDALL:    Thanks.

 9                COACH GORATA:    Take care.

10                MR. TYNDALL:    Bye.

11                COACH GORATA:    Bye-bye.

12                (The call was concluded.)

13

14                MR. TYNDALL:    That was an undercover Skype

15     call with Gorata Masuga.    My name is Reeve Tyndall.

16     I’m an investigator with the Federal Trade Commission.

17     It is August 29th, 2017.    The time is now 1:48 p.m.,

18     Eastern time.

19                (The recording was concluded.)

20

21

22

23

24

25




                                    Attachment O                          EX 41
                                                                           1952
     Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 59 of 168 Page ID
                                      #:2119
                                                                                    11


 1                  CERTIFICATE OF TRANSCRIPTIONIST

 2

 3

 4                I, Sara J. Vance, do hereby certify that the

 5     foregoing proceedings and/or conversations were

 6     transcribed by me via CD, videotape, audiotape or

 7     digital recording, and reduced to typewriting under my

 8     supervision; that I had no role in the recording of

 9     this material; and that it has been transcribed to the

10     best of my ability given the quality and clarity of

11     the recording media.

12                I further certify that I am neither counsel

13     for, related to, nor employed by any of the parties to

14     the action in which these proceedings were

15     transcribed; and further, that I am not a relative or

16     employee of any attorney or counsel employed by the

17     parties hereto, nor financially or otherwise

18     interested in the outcome of the action.

19

20

21     DATE:   11/6/2017

22                               SARA J. VANCE, CERT

23

24

25




                                   Attachment O                           EX 41
                                                                           1953
     Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 60 of 168 Page ID
                                      #:2120
                                                                                    1


 1                  OFFICIAL TRANSCRIPT PROCEEDING
 2
                       FEDERAL TRADE COMMISSION
 3
 4
 5
       MATTER NO.      1723060
 6
       TITLE           DIGITAL ALTITUDE
 7
       DATE            RECORDED:   AUGUST 30, 2017
 8                     TRANSCRIBED:   OCTOBER 27, 2017
 9     PAGES           1 THROUGH 18
10
11
12                   2017-8-30 0515pm (Call w S1)
13
14
15
16
17
18
19
20
21
22
23
24                     For The Record, Inc.
25      (301) 870-8025 - www.ftrinc.net - (800) 921-5555




                                   Attachment P                           EX 41
                                                                           1954
     Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 61 of 168 Page ID
                                      #:2121
                                                                                    2


 1                     FEDERAL TRADE COMMISSION

 2                             I N D E X

 3

 4     RECORDING:                                        PAGE:

 5     2017-8-30 0515pm (Call w S1)                          4

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25




                                   Attachment P                           EX 41
                                                                           1955
     Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 62 of 168 Page ID
                                      #:2122
                                                                                    3


 1                     FEDERAL TRADE COMMISSION

 2

 3     In the Matter of:               )

 4     Digital Altitude                )   Matter No. 1723060

 5                                     )

 6     ------------------------------)

 7                                     August 30, 2017

 8

 9

10

11                The following transcript was produced from a

12     digital file provided to For The Record, Inc. on

13     October 17, 2017.

14

15

16

17

18

19

20

21

22

23

24

25




                                   Attachment P                           EX 41
                                                                           1956
     Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 63 of 168 Page ID
                                      #:2123
                                                                                      4


 1                         P R O C E E D I N G S

 2                         -       -         -    -       -

 3                                  Call w S1

 4                  COACH GORATA:       Hi, J         .

 5                  MR. TYNDALL:       Hi.

 6                  COACH GORATA:       How are you?

 7                  MR. TYNDALL:       Good.     How are you doing?

 8                  COACH GORATA:       I’m doing great.        I’m doing

 9     great.     Okay, so, let’s get started.             So you were able

10     to watch Step 1 to Step 6, correct?                I know you said

11     you did.

12                  MR. TYNDALL:       Yes.

13                  COACH GORATA:       Okay, wonderful.        So,

14     overall, what did you take away from these steps

15     (inaudible)?

16                  MR. TYNDALL:       The -- I can make money online

17     from home.

18                  COACH GORATA:       Okay.     What else did you

19     learn besides, you know, the fact that, you know, you

20     can make money from home?

21                  MR. TYNDALL:       That ASPIRE has a -- there’s a

22     system.

23                  COACH GORATA:       Mm-hmm.

24                  MR. TYNDALL:       And that I -- I need to follow

25     the system.




                                         Attachment P                         EX 41
                                                                               1957
     Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 64 of 168 Page ID
                                      #:2124
                                                                                    5


 1                  COACH GORATA:    Mm-hmm.   Okay, okay.   All

 2     right, awesome.    So, J      , tell me, what do you

 3     currently do for a living?      What do you do for work

 4     currently?

 5                  MR. TYNDALL:    Well, I’m currently

 6     unemployed.

 7                  COACH GORATA:    Okay.

 8                  MR. TYNDALL:    I was laid off in May.

 9                  COACH GORATA:    Okay, okay, okay.    So what --

10     are you basically job-searching?        What is your -- your

11     -- what are you currently focused on?

12                  MR. TYNDALL:    Yeah, I’m --

13                  COACH GORATA:    Like, do you want to start

14     making money online, but --

15                  MR. TYNDALL:    I am --

16                  COACH GORATA:    -- (inaudible) plans, mm-hmm.

17                  MR. TYNDALL:    -- job-searching.     I -- I

18     worked as a teller at a bank.

19                  COACH GORATA:    Okay.

20                  MR. TYNDALL:    And -- but I -- I do have a

21     son, and I’d like to stay home with him and -- if I

22     could --

23                  COACH GORATA:    Yeah.

24                  MR. TYNDALL:    -- to make money from home

25     online.




                                      Attachment P                        EX 41
                                                                           1958
     Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 65 of 168 Page ID
                                      #:2125
                                                                                    6


 1                 COACH GORATA:    Yeah.

 2                 MR. TYNDALL:    That would be ideal.

 3                 COACH GORATA:    Okay, okay.    Okay, makes

 4     sense.    Okay.   And, so, now, here’s -- here’s

 5     basically how, you know, we can get you set up,

 6     okay?    Now, on Step 6, Michael was talking about, you

 7     know, the licensing of our product.        Is that a route

 8     that you are interested in knowing a little bit more

 9     about?

10                 MR. TYNDALL:    Yeah.    I -- I -- I think so.

11     I don’t know what that means, though.

12                 COACH GORATA:    Okay.   So essentially what

13     happens here, in order for you to basically be able to

14     earn money from our digital products, you actually

15     have to license the rights to be able to resell them

16     (inaudible).

17                 MR. TYNDALL:    Okay.

18                 COACH GORATA:    Okay?   So our rights

19     program -- the reason why we really highly recommend

20     that program is because you’ve got an opportunity to

21     work one-on-one with a scale-up coach, and essentially

22     a scale-up coach, I think I -- I kind of touched a

23     little bit on that yesterday, what is basically a

24     seven-figure income earner.     And basically what he’s

25     going to do is literally take you through, you know,




                                     Attachment P                         EX 41
                                                                           1959
     Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 66 of 168 Page ID
                                      #:2126
                                                                                    7


 1     all the steps that you need to go through, handhold

 2     you, show you exactly what you need to do to create a

 3     business plan with you and for you that is really

 4     customized to you, okay?     So essentially this is th

 5     e person who will be able to kind of show you

 6     exactly what you need to do in order for you to

 7     begin to -- you know, to start scaling your business

 8     online.

 9                 Now, the rights program does position you

10     for $10,000 a month.

11                 MR. TYNDALL:    Okay.

12                 COACH GORATA:    Okay?

13                 MR. TYNDALL:    That -- that would be great.

14     That’s --

15                 COACH GORATA:    Okay.   Okay.   But, however, I

16     know everybody’s situation is different, but, you

17     know, like I said, you do -- you would have to license

18     the rights product in order to even get access to our

19     scale-up coaches.

20                 MR. TYNDALL:    Okay.

21                 COACH GORATA:    They only work with people

22     who are at least positioned in the rights.

23                 MR. TYNDALL:    Okay.

24                 COACH GORATA:    Yeah.

25                 MR. TYNDALL:    Wait, I -- what does that




                                     Attachment P                         EX 41
                                                                           1960
     Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 67 of 168 Page ID
                                      #:2127
                                                                                    8


 1     mean?   I didn’t -- I don’t understand.

 2                COACH GORATA:    Okay, it just means that they

 3     only work with licensees, the people who have actually

 4     licensed the rights product.

 5                MR. TYNDALL:    Okay.

 6                COACH GORATA:    Okay?

 7                MR. TYNDALL:    Okay.

 8                COACH GORATA:    Okay.   So, now, how would you

 9     want to proceed from here?

10                MR. TYNDALL:    Well, I -- I don’t know.       I --

11     I -- what -- what would be the next step?

12                COACH GORATA:    Okay, so the next step would

13     just basically be you just making a decision on how

14     you want to move forward.    Do you want to work with

15     these coaches?   And then if you do want to work with

16     these coaches then we’ll get you set up with your

17     licensing, which just basically -- which is $2,497.

18                MR. TYNDALL:    Wow.

19                COACH GORATA:    Okay?

20                MR. TYNDALL:    Okay.

21                COACH GORATA:    Yeah.

22                MR. TYNDALL:    That’s -- that’s a lot.

23                COACH GORATA:    To -- to get licensed.

24                MR. TYNDALL:    That’s a lot of money.

25                COACH GORATA:    Okay.   Okay.   No problem.    I




                                    Attachment P                          EX 41
                                                                           1961
     Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 68 of 168 Page ID
                                      #:2128
                                                                                    9


 1     totally understand.   So, now, moving forward -- so

 2     I -- I’m guessing that it’s something that you can’t

 3     do right now.

 4                MR. TYNDALL:    I don’t know.    I mean, it --

 5     I’d have to talk to my wife.

 6                COACH GORATA:    Okay.

 7                MR. TYNDALL:    We -- I -- I worked with a --

 8     a business coach before selling things --

 9                COACH GORATA:   Okay.

10                MR. TYNDALL:    -- on -- on eBay.

11                COACH GORATA:   Yeah.

12                MR. TYNDALL:    And I -- I didn’t really -- I

13     got set up and everything, but I really couldn’t find

14     enough customers.

15                COACH GORATA:   Okay, okay.     Okay.   So -- and

16     that’s what -- those are the gaps that our -- the

17     training program fills for you.

18                MR. TYNDALL:    Okay.

19                COACH GORATA:    So with this, this was more

20     like you don’t have to worry much about how you’re

21     going to get primed because once you are working

22     with one of our millionaire coaches, then they would

23     be able to show you exactly the different avenues

24     that you can use, you know, in order for you to -- to

25     even just get those customers, really be able to push




                                    Attachment P                          EX 41
                                                                           1962
     Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 69 of 168 Page ID
                                      #:2129
                                                                                    10


 1     your offer in front of the people that are looking

 2     for it.

 3                 MR. TYNDALL:    Okay.

 4                 COACH GORATA:    Okay?

 5                 MR. TYNDALL:    Okay.

 6                 COACH GORATA:    So here’s what -- what we can

 7     do.   What we can do is that we -- I can -- let’s maybe

 8     set up another time, you have the opportunity to speak

 9     with your wife.

10                 MR. TYNDALL:    Okay.

11                 COACH GORATA:    And make that decision.      And

12     just, you know, let me know how you want to move

13     forward.

14                 MR. TYNDALL:    Okay.    Is there --

15                 COACH GORATA:    Okay.

16                 MR. TYNDALL:    -- is there anything that I

17     can read about this online or anything like that to

18     show my wife?

19                 COACH GORATA:    Great question.       Great, great

20     question.   Okay.   Now, our prices for our products

21     have gone -- have basically increased, so I do have

22     something with our old pricing.       Maybe I can send that

23     out to you --

24                 MR. TYNDALL:    Okay.

25                 COACH GORATA:    -- if that’s okay.       Okay.




                                     Attachment P                         EX 41
                                                                           1963
     Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 70 of 168 Page ID
                                      #:2130
                                                                                    11


 1     But just bear in mind this is our old pricing on it,

 2     but, however, it will give you more details about, you

 3     know, what the -- the product and everything, you can

 4     read more about that.

 5                MR. TYNDALL:    Okay.

 6                COACH GORATA:    Okay?

 7                MR. TYNDALL:    And --

 8                COACH GORATA:    Mm-hmm.

 9                MR. TYNDALL:    -- that, I mean, how much was

10     -- how much did it cost?

11                COACH GORATA:    The rights is 2,497.

12                MR. TYNDALL:    Okay.

13                COACH GORATA:    Okay?

14                MR. TYNDALL:    And, then, you said that I

15     could expect $10,000 a month?

16                COACH GORATA:    Yeah.    So it will set you up

17     for $10,000 a month.    And when you start working with

18     the scale-up coach, then he will put together a proper

19     action plan, a proper (inaudible) and a proper plan on

20     how -- on how you’re going to get that (inaudible).

21     So now you remember, with a ten -- with that, you

22     basically earn about 15 -- 1,500 per -- so it’s 1,500

23     per -- per sale.

24                MR. TYNDALL:    Okay.

25                COACH GORATA:    Right?    So -- so the key is




                                    Attachment P                          EX 41
                                                                           1964
     Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 71 of 168 Page ID
                                      #:2131
                                                                                    12


 1     it’s only about six -- yeah, about six sales, six,

 2     seven sales.   Six and a half sales, which is basically

 3     seven sales a month.      And that’s what the -- the

 4     scale-up coach is going to help to set up for you so

 5     you’re able to just make seven sales a month and be

 6     able to -- to make that $10,000 a month.

 7                MR. TYNDALL:    Okay.    It -- do you know --

 8                COACH GORATA:    Okay.

 9                MR. TYNDALL:     -- do you know how -- how fast

10     all of this works?

11                COACH GORATA:    Great question.   So

12     basically, the number one thing is it really does

13     depend on just you making sure that you take the

14     action, like he’s going to lay out a plan for you and

15     show you exactly what you need to do.      Now, you --

16     it’s all about you taking action.      So let’s say you

17     really follow everything, the plan the way that it is

18     laid out, and are consistent in doing that.

19                MR. TYNDALL:    Yeah.

20                COACH GORATA:    The system definitely works.

21     So we do find people -- some people start making

22     profit, okay, they start making profit within, you

23     know, the week.   Some people a little bit more than

24     that, but the bottom line is that we want to make sure

25     that we get you to six figures -- six-figure income,




                                     Attachment P                         EX 41
                                                                           1965
     Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 72 of 168 Page ID
                                      #:2132
                                                                                    13


 1     at least a $100,000 --

 2                MR. TYNDALL:    Okay.

 3                COACH GORATA:    -- within 90 to 120 days.

 4                MR. TYNDALL:    Okay.

 5                COACH GORATA:    So if you follow the system

 6     the way that it’s laid out --

 7                MR. TYNDALL:    Okay.

 8                COACH GORATA:    -- it’s within 90 to 120 days

 9     that you would be -- that, you know, we are getting

10     you to the $100,000 a month.       And -- sorry, $100,000 a

11     year income.

12                MR. TYNDALL:    Okay.

13                COACH GORATA:    Okay?    So if you just bear in

14     mind, this doesn’t mean that you won’t make any money

15     in the process obviously, but we want to make sure

16     that you’re a six-figure income within 90 to 120 days.

17                MR. TYNDALL:    Okay.

18                COACH GORATA:    Okay?

19                MR. TYNDALL:    Wow, that -- that -- that

20     would be -- that would be great.

21                COACH GORATA:    Yeah, so, but like I said, we

22     can’t, you know, promise that to you.       We can put you

23     and make that promise to you of 100 -- 120 days, 90 to

24     120 days if you are not with -- if you end up training

25     with a scale-up coach because, remember, he’s already




                                    Attachment P                          EX 41
                                                                           1966
     Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 73 of 168 Page ID
                                      #:2133
                                                                                    14


 1     making millions of dollars online, and he’s basically

 2     going to show you a shortcut on how to do that.

 3                MR. TYNDALL:    Okay.    Wow, that -- that would

 4     be -- that would be great.

 5                COACH GORATA:    Yeah.

 6                MR. TYNDALL:    Do you know -- so, yeah, I’ll

 7     -- I’ll talk to my wife about it, because --

 8                COACH GORATA:    Okay.

 9                MR. TYNDALL:    -- she -- she -- she said she

10     had some questions too.

11                COACH GORATA:    Yeah, that’s fine.

12                MR. TYNDALL:    She’s not -- she’s still at

13     work.

14                COACH GORATA:    Okay.

15                MR. TYNDALL:    But --

16                COACH GORATA:    No problem.   I mean, if she

17     has some questions, I’m more than happy to answer any

18     of the questions she has.

19                MR. TYNDALL:    Okay.

20                COACH GORATA:    And, you know, you can just

21     basically, you know, let me know.      We can go ahead and

22     -- and set up a time with -- she can be on the phone

23     and I will be happy to, you know, give her all the

24     information.

25                MR. TYNDALL:    Okay.




                                    Attachment P                          EX 41
                                                                           1967
     Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 74 of 168 Page ID
                                      #:2134
                                                                                    15


 1                COACH GORATA:    Now, in the meantime, I will

 2     send out just that information package.      I highly

 3     recommend that you have her read that, to go through

 4     that first.

 5                MR. TYNDALL:    Okay.

 6                COACH GORATA:    And stuff like that.

 7                MR. TYNDALL:    Okay.    Okay.

 8                COACH GORATA:    Okay?

 9                MR. TYNDALL:    Is there -- is there any way

10     that we could pay on a -- on a payment plan, because

11     that sounds like a lot of money.

12                COACH GORATA:    Okay.    Now, we do have

13     payment plans, but at this point, we are basically

14     trying to restructure them because of our prices have

15     changed, but I will find out how -- what the payment

16     plans look like.   But you’re looking at least, you

17     know, putting down at least about a thousand or more.

18     I mean, that’s just me thinking.

19                MR. TYNDALL:    Okay.

20                COACH GORATA:    Because we’d like $1,000 or

21     like $1,200 or $1,300 --

22                MR. TYNDALL:    Okay.

23                COACH GORATA:    -- in order to even begin a

24     payment plan.

25                MR. TYNDALL:    Okay, okay.




                                    Attachment P                          EX 41
                                                                           1968
     Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 75 of 168 Page ID
                                      #:2135
                                                                                    16


 1                COACH GORATA:    Okay?

 2                MR. TYNDALL:    Well, yeah, I’ll talk to --

 3     talk to my wife.     And how -- how do we schedule a --

 4     the next call with you?

 5                COACH GORATA:    Okay, just go on my calendar

 6     again and just do, like, a finish Step 3 thing or

 7     just another strategy.     Just go into another strategy,

 8     and then we can have at least 30 minutes to -- to

 9     talk.

10                MR. TYNDALL:    Okay, okay.

11                COACH GORATA:    Okay?

12                MR. TYNDALL:    Well, that --

13                COACH GORATA:    All right.

14                MR. TYNDALL:    -- that sounds good.       Well,

15     thank you so much.

16                COACH GORATA:    You are welcome.    You have

17     yourself a great one, okay?

18                MR. TYNDALL:    Okay.    Thanks so much.    Bye.

19                COACH GORATA:    You’re welcome.    Bye-bye.

20                MR. TYNDALL:    Bye.

21                (The call was concluded.)

22

23                MR. TYNDALL:    That was an undercover Skype

24     call received from Gorata Masuga.      My name is Reeve

25     Tyndall.   I’m an investigator with the Federal Trade




                                    Attachment P                          EX 41
                                                                           1969
     Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 76 of 168 Page ID
                                      #:2136
                                                                                    17


 1     Commission.   The date is August 30th, 2017.   The time

 2     is now 5:15 p.m., Eastern time.

 3                (The recording was concluded.)

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25




                                   Attachment P                           EX 41
                                                                           1970
     Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 77 of 168 Page ID
                                      #:2137
                                                                                    18


 1                  CERTIFICATE OF TRANSCRIPTIONIST

 2

 3

 4                I, Sara J. Vance, do hereby certify that the

 5     foregoing proceedings and/or conversations were

 6     transcribed by me via CD, videotape, audiotape or

 7     digital recording, and reduced to typewriting under my

 8     supervision; that I had no role in the recording of

 9     this material; and that it has been transcribed to the

10     best of my ability given the quality and clarity of

11     the recording media.

12                I further certify that I am neither counsel

13     for, related to, nor employed by any of the parties to

14     the action in which these proceedings were

15     transcribed; and further, that I am not a relative or

16     employee of any attorney or counsel employed by the

17     parties hereto, nor financially or otherwise

18     interested in the outcome of the action.

19

20

21     DATE:   11/6/2017

22                               SARA J. VANCE, CERT

23

24

25




                                   Attachment P                           EX 41
                                                                           1971
Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 78 of 168 Page ID
                                 #:2138




                  ER




                                                                         By Michael Force
                Gh
              HI
         H
       AC
     RE


             ALTITUDE
                        Elevating Digital Entreprenuers
            DIGITAL




                                                                         Company And Product Overview




                                                          Attachment Q                                  EX 41
                                                                                                         1972
Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 79 of 168 Page ID
                                 #:2139




                               A Digital Business & Marketing
                                    e-Learning Company




                              Attachment Q                           EX 41
                                                                      1973
Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 80 of 168 Page ID
                                 #:2140




                           mountain we
                           conquer, but
                            It’s not the

                            ourselves.




                              Attachment Q                           EX 41
                                                                      1974
Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 81 of 168 Page ID
                                 #:2141




                  Believe Dreams
                  Dreamers Who
                  Entrepreneurs,
                   Marketers, &

                    Are Worth
                     Chasing.
                        For




                              Attachment Q                           EX 41
                                                                      1975
                            FOUNDER
                 Michael Force
                 A former U.S. Marine who over the last 15 years has
                 become an industry leading digital business expert,
                 speaker and entrepreneur who built his Hrst multi-
                                                                                                          #:2142




                 million dollar business by the age of 27.




  Attachment Q
                 He has trained tens of thousands online and has
                 been a 7-Hgure producer in top tier high ticket over
                 the last 15 years and has consulted many of the
                 leading companies in high ticket.He has over
                 500,000 readers currently subscribe to his free email
                 newsletter.




 1976
EX 41
                                                                         Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 82 of 168 Page ID
Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 83 of 168 Page ID
                                 #:2143




                                 SPEAKER




                              Attachment Q                           EX 41
                                                                      1977
Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 84 of 168 Page ID
                                 #:2144




                               Father




                              Attachment Q                           EX 41
                                                                      1978
Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 85 of 168 Page ID
                                 #:2145




                                 Husband




                              Attachment Q                           EX 41
                                                                      1979
Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 86 of 168 Page ID
                                 #:2146




                                  MARINE




                              Attachment Q                           EX 41
                                                                      1980
                                                                                                                                                                                        #:2147




  Attachment Q
                               vision
                 Our goal is to elevate the success of aspiring entreprenuers, marketers and dreamers around the world with world class
                 education. To lift them up and fast track their trial and error. We strive to turn leaders into legends while being there each step
                 of the way to guide them through the starts, stops and pitfalls of starting and scaling a proHtable digital business. Our focus is
                 to ensure they never get left behind and are pushed when they feel like giving up, pulled when they want to quit. Our passion
                 and drive comes from helping others realize their potential and reaching their peak.




 1981
EX 41
                                                                                                                                                       Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 87 of 168 Page ID
                              why
                 With technology evolving at lightning speeds and
                 the rise in e-Learning in this information age… we
                 wanted to create an educational incubator for
                 aspiring entrepreneurs, marketers, and dreamers.
                 We believe college is not always the best answer for
                 entrepreneurs.
                                                                                                               #:2148




                 But we don’t believe going it alone is the answer
                 either. It’s our goal to provide starters, marketers,




  Attachment Q
                 and dreamers with the shortcuts, blindspots, and
                 tools to turn their drive into thriving, proHtable Digital
                 Businesses.

                 We will continue to strive to provide an educational
                 incubator and community of like-minded people to
                 share and amplify their successes. To help create
                 true freedom so they can spend more time with
                 their families, friends, and those they care most
                 about.




 1982
EX 41
                                                                              Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 88 of 168 Page ID
                             WHO
                 A business should give you more time to
                 spend on the things you like, with the
                 people you love.

                 Our program was not designed for
                 business people. It was designed for
                                                                                               #:2149




                 moms, dads, high school graduates,
                 waiters and waitresses, passionate




  Attachment Q
                 creatives, college dropouts, and anyone in
                 between.

                 You don’t have to be a businessman or
                 woman in a suit to have a successful
                 company. The world wants you and your
                 ideas, just they way they are.




 1983
EX 41
                                                              Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 89 of 168 Page ID
                            HOW
                 Our product line was created for those
                 aspiring to climb the mountain to success
                 as a Digital Entrepreneur.

                 It’s packed with over 100 years of
                 combined experience and success from
                                                                                               #:2150




                 the industry’s thought leaders and doer’s.




  Attachment Q
                 We have carefully crafted a product line
                 that creates not just the foundation for
                 success but gives you the map to climb to
                 the top step-by-step. We will be here with
                 you every step of the way.




 1984
EX 41
                                                              Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 90 of 168 Page ID
Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 91 of 168 Page ID
                                 #:2151




               ASCENSION




                              Attachment Q                           EX 41
                                                                      1985
                                                                                                                                  apex
                                                                                                                                   Digital Business Legacy Experience




                                                                                                              peak
                                                                                                              Digital Business Prosper Retreat




                                                                                        ascend
                                                                                         Digital Business ProHt Workshop
                                                                                                                                                                                                         #:2152




                                                                  rise




  Attachment Q
                                                                  Digital Marketing Mastery Course



                                       base
                                       Digital Business Mastery Course




                 ASPIRE
                 Digital Business Sales System




 1986
EX 41
                                                                                                                                                                        Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 92 of 168 Page ID
Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 93 of 168 Page ID
                                 #:2153




                               client for life
                                  COACHES




                              Attachment Q                           EX 41
                                                                      1987
Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 94 of 168 Page ID
                                 #:2154




                                  core products




                              Attachment Q                           EX 41
                                                                      1988
Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 95 of 168 Page ID
                                 #:2155




                   systems + education




                                         Attachment Q                EX 41
                                                                      1989
Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 96 of 168 Page ID
                                 #:2156




                   training & coaching




                                         Attachment Q                EX 41
                                                                      1990
Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 97 of 168 Page ID
                                 #:2157




                                add on products




                              Attachment Q                           EX 41
                                                                      1991
Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 98 of 168 Page ID
                                 #:2158




                 branding + social




                                     Attachment Q                    EX 41
                                                                      1992
Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 99 of 168 Page ID
                                 #:2159




                   content + blog




                                    Attachment Q                     EX 41
                                                                      1993
Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 100 of 168 Page ID
                                 #:2160




                    traffic + funnel




                                       Attachment Q                   EX 41
                                                                       1994
Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 101 of 168 Page ID
                                 #:2161




                                 48 products




                               Attachment Q                           EX 41
                                                                       1995
Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 102 of 168 Page ID
                                 #:2162




                                 60 income streams




                               Attachment Q                           EX 41
                                                                       1996
Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 103 of 168 Page ID
                                 #:2163




                                 19 are residual




                               Attachment Q                           EX 41
                                                                       1997
Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 104 of 168 Page ID
                                 #:2164




                                 up to 24k in comms




                               Attachment Q                           EX 41
                                                                       1998
Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 105 of 168 Page ID
                                 #:2165




                        ASPIRE
                                            Digital Business System




                               Attachment Q                           EX 41
                                                                       1999
                             aspire
                        Digital Business System
                 An digital marketing, sales system and training platform
                 designed by 7-Hgure digital marketers for digital
                 marketers. Includes automation, sales funnels,
                 community, tools and resources to ensure your success.
                                                                                                             #:2166




  Attachment Q
 2000
EX 41
                                                                            Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 106 of 168 Page ID
                         aspire
                    Digital Business System

                 Digital Business Video Trainings
                 3 Start-up steps, 3 Set-up steps and 3 Promote
                 steps guide you.

                 Private Digital Client For Life Coaches
                                                                                                   #:2167




                 Coaches help guide you and help you with
                 strategy to reach your goals.




  Attachment Q
                 7-Figure Sales Funnels & Websites
                 Automated sales funnels designed by 7-Hgure
                 marketers automate the sales process.


                 Follow Up Sequences & Sales Automation
                 The fortune is in the follow up and automation
                 to leverage your time and efforts.




 2001
EX 41
                                                                  Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 107 of 168 Page ID
                         aspire
                   Digital Business System

                 High Commission Back End Products
                 Product development has been created for you so
                 you can leverage top tier commissions while you
                 learn.
                 Done For You Branding Solutions
                                                                                                          #:2168




                 Branding is the secret behind increase conversions
                 and we have solutions tailor made for you.




  Attachment Q
                 Trac & Social Media Solutions
                 TrafHc is the lifeblood of any online business and we
                 have solutions forged from years of trial and error.

                 Latest Tools & Resources
                 Staying up on what’s working know is the key to
                 any Digital Entrepreneurs success and we have the
                 latest tools and resources available to you.




 2002
EX 41
                                                                         Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 108 of 168 Page ID
                          aspire
                    Digital Business System

                 Merchant & Payroll Services
                 One of the biggest hurdles for most businesses is
                 managing their accounting, funding and cashIow.
                 We do it for you.
                                                                                                          #:2169




                 Support, Forums & Live Chat
                 Live support and instant availabity is paramount to




  Attachment Q
                 retaining customers. We have it all in place for you.

                 Community, Leadership
                 Connecting and learning from others is what
                 creates takes leaders to legends. We have it all.

                 Networking, Live Events, Coaching
                 It’s said that your networth is determined by your
                 network. Here you will increase your network.




 2003
EX 41
                                                                         Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 109 of 168 Page ID
                    aspire                       walker
                 Digital Business System   Membership Includes             Retail Value

                                           •    40% Commission             $49/mo
                                           •    1 Tier of Payout
                                           •    Members Area
                                           •    Start Up Training Videos
                                           •    Weekly Training Calls
                                                                                                                           #:2170




  Attachment Q
                                               $37    /mo




 2004
EX 41
                                                                                          Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 110 of 168 Page ID
                    aspire                        HIKER
                 Digital Business System   Membership Includes             Retail Value

                                           •    50% Commission
                                           •    2 Tiers of Payout
                                                                           $99/mo
                                           •    Members Area
                                           •    Start Up Training Videos
                                           •    Weekly Training Calls
                                                                                                                           #:2171




                                           •    Live Hiker Training
                                           •    Sales Assistance




  Attachment Q
                                           •    Tools & Resources




                                            $67      /mo




 2005
EX 41
                                                                                          Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 111 of 168 Page ID
                    aspire                       CLIMBER
                 Digital Business System   Membership Includes              Retail Value

                                           •     60% Commission        $199 /mo
                                           •     3 Tiers of Payout
                                           •     Members Area
                                           •     Start Up Training Videos
                                           •     Weekly Training Calls
                                                                                                                            #:2172




                                           •     Live Climber Training
                                           •     Additional Sales Funnels




  Attachment Q
                                           •     Sales Assistance
                                           •     Done-For-Solutions
                                           •     TrafHc Solutions
                                           •     Tools & Resources



                                               $127       /mo




 2006
EX 41
                                                                                           Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 112 of 168 Page ID
                      ASPIRE                                             ASPIRE                                         ASPIRE

                          WALKER                                                 hiker                                       CLIMBER
                 Compensation                            40%      Compensation                            50%       Compensation                        60%
                                                         1 Tier                                           2 Tiers                                       3 Tiers


                 Retail                  $37 /mo                  Retail                   $67/mo                   Retail                  $127/mo
                                                                                                                                                                                                      #:2173




                 Tier 1                                           Tier 1                                            Tier 1
                 40% comm                                         40% comm                                          45% comm




  Attachment Q
                                          $15/mo                                            $27/mo                                            $76 /mo
                                                                  Tier 2                                            Tier 2
                                                                  10% comm                  $7            /mo       10% comm                  $13 /mo
                                                                                                                    Tier 3                                     /mo
                                                                                                                    5% comm                   $6
                   Must be a WALKER member to qualify.              Must be an HIKER member to qualify.                 Must be a CLIMBER member to qualify.




 2007
EX 41
                                                                                                                                                                     Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 113 of 168 Page ID
                              aspire
                 Potential Conversions (estimated)                                                (Tiers or pass ups not shown)

                        WALKER             HIKER         CLIMBER

                             $37             $67             $127
                                                                                                                                                                                           #:2174




                             5%              60%              60%




  Attachment Q
                 500        25.0             15.0              9.0
                             $15             $27              $76
                            $375            $405             $684
                            $375            $780            $1,464

                 *disclaimer: estimated, not guaranteed and doesn’t include residuals, additional income streams, trip wires, upsells or pass up sales.




 2008
EX 41
                                                                                                                                                          Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 114 of 168 Page ID
Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 115 of 168 Page ID
                                 #:2175




                        ASPIRE
                                            Digital Business System




                               Attachment Q                           EX 41
                                                                       2009
Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 116 of 168 Page ID
                                 #:2176




                                            Digital Business Mastery Course
                        BASE




                               Attachment Q                                   EX 41
                                                                               2010
                                 BASE
                    Digital Business Mastery Course

                 A Foundational business basics to advanced mastery
                 course that provides shortcuts, tools and resources to
                 fast track your digital business’s success.
                                                                                                           #:2177




  Attachment Q
 2011
EX 41
                                                                          Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 117 of 168 Page ID
                                      BASE
                        Digital Business Mastery Course

                 Section 1: Prepare
                 We understand starting a new business can be
                 intimidating. The modules in this section are aimed to
                 prepare your mind and plan your route

                        Module #1
                                                                                                              #:2178




                        “How To Set Up Your Personal Preparation &
                        Develop Your Business Goals”




  Attachment Q
                        Module #2
                        “How To Set Up Essential Business Planning & Legal
                        Entity, Business Banking & Proper Accounting

                        Module #3
                        “Crafting A Branding & Design That Captivates &
                        Sells Seamlessly”

                        Module #4
                        “How To Architech A Beatiful Website, Blog
                        And Social Media Presence”




 2012
EX 41
                                                                             Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 118 of 168 Page ID
                                    BASE
                       Digital Business Mastery Course

                 Section 2: Launch
                 It’s our hope you will be launching your business within
                 this section. The modules to come are focused heavily on
                 tactics and strategy around sustaining the Hrst 3 months
                 of your business.

                       Module #5
                                                                                                             #:2179




                       “Learn How To Launch Your Digital Business Loud
                       So They Come Running”




  Attachment Q
                       Module #6
                       “Learn How To Create An Awesome Social Media
                       Compaign To Get The Word Out”
                        Module #7
                        “The 5 Key Things You Need To Know About
                        Analytics, Tools, & Reporting”
                        Module #8
                        “Learn About The 5 Must Do’s When
                        Launching A Business”




 2013
EX 41
                                                                            Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 119 of 168 Page ID
                                    BASE
                       Digital Business Mastery Course

                 Section 3: Grow
                 Your business is up an running. Growth might be slow but
                 it’s steady. This section is focused on optimization,
                 strength, and long term success.

                        Module #9
                                                                                                             #:2180




                        “Learn How To Run Lean, Bootstrap & Optimize
                        Business For Long Term ProHts”




  Attachment Q
                       Module #10
                       “Learn How To Create A Captivating Customer
                       Experience So They Stay For Years”

                        Module #11
                        “How To BuildA Cult-Like-Tribe That Follows
                        You Everywhere You Go”
                        Module #12
                        “Learn How Build Automated Systems For
                        Personal Time Freedom”




 2014
EX 41
                                                                            Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 120 of 168 Page ID
Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 121 of 168 Page ID
                                 #:2181




                    Digital Business Mastery Course
          BASE


                                                                               Upgrade Within 7-Days
                                                                                Get $200 Discount!



                                                                                                       $597
                                                                       $797
                                                      Retail Value




                                                                     Attachment Q                             EX 41
                                                                                                               2015
                         BASE                                                BASE
                                                                             B                                               BASE

                           WALKER                                                  hiker                                       CLIMBER
                 Compensation                             40%      Compensation                             50%       Compensation                        60%
                                                          1 Tier                                            2 Tiers                                       3 Tiers


                 Retail                   $597                     Retail                    $597                     Retail                  $597
                                                                                                                                                                                                     #:2182




                 Tier 1                                            Tier 1                                             Tier 1
                 40% comm                                          40% comm                                           45% comm




  Attachment Q
                 -20% coach
                                           $240                    -20% coach
                                                                                              $240                    -20% coach
                                                                                                                                                $270
                                                                   Tier 2                                             Tier 2
                                                                   10% comm                   $60                     10% comm                  $60
                                                                                                                      Tier 3
                                                                                                                      5% comm                   $30
                    Must be a WALKER member to qualify.               Must be an HIKER member to qualify.                 Must be a CLIMBER member to qualify.




 2016
EX 41
                                                                                                                                                                    Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 122 of 168 Page ID
                             base
                 Potential Conversions (estimated)                                                (Tiers or pass ups not shown)

                        WALKER             HIKER         CLIMBER             BASE

                             $37             $67             $127             $597
                                                                                                                                                                                           #:2183




                             5%              60%              60%             40%




  Attachment Q
                 500        25.0             15.0              9.0             3.6
                             $15             $27              $76             $270
                            $375            $405             $684             $972
                            $375            $780            $1,464          $2,436

                 *disclaimer: estimated, not guaranteed and doesn’t include residuals, additional income streams, trip wires, upsells or pass up sales.




 2017
EX 41
                                                                                                                                                          Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 123 of 168 Page ID
                         BASE                                                     Frequently Asked Questions


                 How long do I have to make a decision on buying                    What does the phrase “non BASE member referrals are
                 the product and positioning myself?                                passed up” mean?
                                                                                    It means for those members who have yet to buy the BASE
                 You can upgrade whenever you like.. but member
                                                                                    product and have yet to position themselves for commissions at the
                 referrers are locked for life. See explanation in other FAQ.
                                                                                    BASE level will pass up any and all BASE sales they refer.
                                                                                                                                                                                          #:2184




  Attachment Q
                                                                                    What does the phrase “BASE member referrers are
                 What does “sales assist” mean?
                                                                                    locked for life” mean?
                 It means we have Digital Client For Life Coaches that call all     It means the time at which a member upgrades to BASE their
                 new members and guide them through the steps to start              position at BASE is attached to the next quali2ed BASE member
                 up, set up and promote and answer any questions                    above them for life. So for those who that do pass up that BASE
                 regarding compensation and assist in making the sale for           member means they for2et any and all of that new members BASE
                 you so they are compensted a percentage.                           sales for life.




 2018
EX 41
                                                                                                                                                         Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 124 of 168 Page ID
Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 125 of 168 Page ID
                                 #:2185




                                            Digital Business Mastery Course
                        BASE




                               Attachment Q                                   EX 41
                                                                               2019
Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 126 of 168 Page ID
                                 #:2186




                                            Digital Marketing Mastery Course
                        rise




                               Attachment Q                                    EX 41
                                                                                2020
                                    RISE
                   Digital Marketing Mastery Course

                 A powerful business marketing mastery course that
                 provides basic and advanced shortcuts, trafHc, tools and
                 resources to fast track your digital business’s success.
                                                                                                             #:2187




  Attachment Q
 2021
EX 41
                                                                            Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 127 of 168 Page ID
                                     rise
                     Digital Marketing Mastery Course

                 Section 1: Commit
                 We understand learning to market can be intimidating. The
                 modules in this section are aimed to prepare your mind
                 and plan your route.


                       Module #1
                       “Decide and Commit To Succeeding As A Digital
                                                                                                              #:2188




                       Marketer in the Information Age.”




  Attachment Q
                        Module #2
                        “Learn How To Shift Your Digital Marketing
                        Mindset To Guarantee Success”

                        Module #3
                        “How To Attract The Irrational Market And Create
                        A Buying Frenzy”
                        Module #4
                        “Learn How To FindThe Top 20% of Customers
                        Which Is 80% Of Your Revenue”




 2022
EX 41
                                                                             Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 128 of 168 Page ID
                                     rise
                     Digital Marketing Mastery Course

                 Section 2: Customer
                 Learn to understand your customer and market so that you
                 can provide a solution to their problem and add value to
                 their lives.

                        Module #5
                        “How To Identify The Emotional Trigger Buttons In
                                                                                                             #:2189




                        Your Prospects.”




  Attachment Q
                        Module #6
                        “Learn How To Craft And Attract The Perfect
                        Customer 99% Of The Time.”

                        Module #7
                        “How To Lower Customer Aquistion Costs By
                        Being A Direct Response Marketer”

                        Module #8
                        “Why You Need To Become An Educational
                        Marketer In This Information Age”




 2023
EX 41
                                                                            Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 129 of 168 Page ID
                                     rise
                     Digital Marketing Mastery Course

                 Section 3: Create
                 Learn how create and craft your message to market and
                 stick in the minds of your customers. Learn how to create
                 the highest lifetime customer value.

                       Module #9
                       “Learn How To Architect A Powerful And Memory
                                                                                                              #:2190




                       Sticking Brand Name”

                        Module #10




  Attachment Q
                        “How to Create A Want Inside The Mind of Your
                        Customers Instantly”

                        Module #11
                        “How To Create Your Tiered Marketing & Product
                        Sequencing In 7 Steps”

                        Module #12
                        “How To Create A FREE Tripwire Front End
                        Product To Increase Your Customer Base ”




 2024
EX 41
                                                                             Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 130 of 168 Page ID
                                     rise
                     Digital Marketing Mastery Course

                 Section 4: Words
                 Learn how to write and pull in your prospects with powerful
                 proHt pulling words so they come running to your offers.


                       Module #13
                       “Discover The Highest Converting Headline Hacks
                                                                                                                #:2191




                       Working Now”




  Attachment Q
                       Module #14
                       “How To Create Instant Credibility With Your
                       Personal Story And Message”

                       Module #15
                       “How To Write Copy That Sells Anything Instantly”

                        Module #16
                        “How To Craft The Perfect Marketing Message To
                        Attract The Perfect Customer”




 2025
EX 41
                                                                               Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 131 of 168 Page ID
                                     rise
                     Digital Marketing Mastery Course

                 Section 5: Partners
                 Learn how to leverage joint ventures and other people’s
                 lists. Become an authority and get people chasing you
                 down.


                      Module #17
                      “How To Create Easy Ads And Marketing That
                                                                                                            #:2192




                      Gets Instant Response”




  Attachment Q
                       Module #18
                       “How To Partner With Others To Promote Your
                       Products & Services”

                       Module #19
                       “How To Get More Referalls in 3 Simple Steps”




 2026
EX 41
                                                                           Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 132 of 168 Page ID
Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 133 of 168 Page ID
                                 #:2193




                    Digital Marketing Mastery Course
          RISE


                                                                                LIMITED TIME ONLY!




                                                                                                     $1,997
                                                                                Get $500 Discount!
                                                                       $2,497
                                                       Retail Value




                                                                      Attachment Q                            EX 41
                                                                                                               2027
                          RISE                                                 RISE
                                                                               R                                              RISE

                           WALKER                                                  hiker                                       CLIMBER
                 Compensation                             40%      Compensation                             50%       Compensation                        60%
                                                          1 Tier                                            2 Tiers                                       3 Tiers


                 Retail               $1,997                       Retail                 $1,997                      Retail                $1,997
                                                                                                                                                                                                     #:2194




                 Tier 1                                            Tier 1                                             Tier 1
                 40% comm                                          40% comm                                           45% comm




  Attachment Q
                 -20% coach
                                           $800                    -20% coach
                                                                                              $800                    -20% coach
                                                                                                                                                $900
                                                                   Tier 2                                             Tier 2
                                                                   10% comm                   $200                    10% comm                  $200
                                                                                                                      Tier 3
                                                                                                                      5% comm                   $100
                    Must be a WALKER member to qualify.               Must be an HIKER member to qualify.                 Must be a CLIMBER member to qualify.




 2028
EX 41
                                                                                                                                                                    Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 134 of 168 Page ID
                              rise
                  Potential Conversions (estimated)                                                (Tiers or pass ups not shown)

                           WALKER HIKER CLIMBER                               BASE            RISE

                                $37            $67            $127             $597         $1,997
                                                                                                                                                                                            #:2195




                                5%             60%             60%             40%            40%




  Attachment Q
                 1,000         50.0            30.0            18.0             7.2            2.9
                                $15            $27             $76             $270           $900
                               $750           $810           $1,368          $1,944 $2,592
                               $750          $1,560          $2,928          $4,872 $7,464

                  *disclaimer: estimated, not guaranteed and doesn’t include residuals, additional income streams, trip wires, upsells or pass up sales.




 2029
EX 41
                                                                                                                                                           Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 135 of 168 Page ID
                        RISE                                                      Frequently Asked Questions


                 How long do I have to make a decision on buying                    What does the phrase “non RISE member referrals are
                 the product and positioning myself?                                passed up” mean?
                                                                                    It means for those members who have yet to buy the RISE product
                 You can upgrade whenever you like.. but member
                                                                                    and have yet to position themselves for commissions at the RISE
                 referrers are locked for life. See explanation in other FAQ.
                                                                                    level will pass up any and all RISE sales they refer.
                                                                                                                                                                                       #:2196




  Attachment Q
                                                                                    What does the phrase “RISE member referrers are
                 What does “sales assist” mean?
                                                                                    locked for life” mean?
                 It means we have Digital Client For Life Coaches that call all     It means the time at which a member upgrades to RISE their
                 new members and guide them through the steps to start              position at RISE is attached to the next quali2ed RISE member
                 up, set up and promote and answer any questions                    above them for life. So for those who that do pass up that RISE
                 regarding compensation and assist in making the sale for           member means they for2et any and all of that new members RISE
                 you so they are compensted a percentage.                           sales for life.




 2030
EX 41
                                                                                                                                                      Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 136 of 168 Page ID
Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 137 of 168 Page ID
                                 #:2197




                                            Digital Marketing Mastery Course
                        rise




                               Attachment Q                                    EX 41
                                                                                2031
Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 138 of 168 Page ID
                                 #:2198




                        ASCEND
                                            Digital Business Pro6t Workshop




                               Attachment Q                                   EX 41
                                                                               2032
                           ascend
                    Digital Business ProHt Workshop

                 A 5-Day all inclusive retreat for two that brings the
                 world’s leading thought leaders in business success,
                 and leadership directly to you to learn from.
                                                                                                          #:2199




  Attachment Q
 2033
EX 41
                                                                         Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 139 of 168 Page ID
                             ascend
                      Digital Business ProHt Workshop

                 Day 1 Agenda
                 On day one you will learn how to Hnd and scale trafHc and
                 implement the highest converting funnel strategies.


                        Top 5 Most ProJtable Trac Sources
                        You’ll learn where to Hnd the most proHtable
                                                                                                              #:2200




                        trafHc and scalable sources.




  Attachment Q
                        6 Strategies To Scale Trac
                        You’ll learn how best strategies to scale your
                        trafHc to 8 Hgure or more.

                        7-Figure Conversion Hacks
                        Learn the little know conversion hacks that all 7-
                        Hgure earners use today.

                         3 Powerful Funnel Formula’s
                         Discover the funnel formula’s that convert the
                         highest in any niche.




 2034
EX 41
                                                                             Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 140 of 168 Page ID
                                ascend
                        Digital Business ProHt Workshop

                 Day 2 Agenda
                 On day two you will learn all about the power of a
                 personal brand and story. Learn to tell and craft your story
                 to take your Digital Business to the next level.

                           The Power Of A Personal Brand
                           Discover the how to create a powerful personal
                                                                                                                 #:2201




                           brand that crushes conversions.




  Attachment Q
                           How To Tell Your Story
                           Learn how to tell your story and craft a
                           message that shows your authenticity.

                           Finding The Guru In You
                           You’ll learn how to tap your experience and
                           knowledge and package it to create value.

                           How To Master Video
                           Learn the most powerful distribution channel
                           that will create customer connections.




 2035
EX 41
                                                                                Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 141 of 168 Page ID
                              ascend
                      Digital Business ProHt Workshop

                 Day 3 Agenda
                 On day three you will learn how to increase
                 conversions, create content, outsource and build a
                 team to leverage your time.

                           Increase Conversions With Analytics
                           Discover how to maximize your ROI using
                                                                                                                  #:2202




                           analytics in your business.




  Attachment Q
                           How To Create Amazing Content
                           You’ll learn the little know secrets to pumping out
                           high converting content on autopilot.

                           How To Work Smarter With Outsourcing
                           Learn how to lower costs and leverage your time
                           with outsourcing.

                           How To Build A Team
                           You’ll learn how to create more duplication
                           and less attrition in your team.




 2036
EX 41
                                                                                 Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 142 of 168 Page ID
Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 143 of 168 Page ID
                                 #:2203




         ascend
                   Digital Business ProHt Workshop




                                                                     $11,997
                                                                               Get $2000 Discount!



                                                                                                     $9,997
                                                                               LIMITED TIME ONLY!
                                                     Retail Value




                                                                    Attachment Q                              EX 41
                                                                                                               2037
                          RISE                                                 RISE
                                                                               R                                              RISE

                           WALKER                                                  hiker                                       CLIMBER
                 Compensation                             40%      Compensation                             50%       Compensation                        60%
                                                          1 Tier                                            2 Tiers                                       3 Tiers


                 Retail               $9,997                       Retail                 $9,997                      Retail                $9,997
                                                                                                                                                                                                     #:2204




                 Tier 1                                            Tier 1                                             Tier 1
                 40% comm                                          40% comm                                           45% comm




  Attachment Q
                 -20% coach
                                      $4,000                       -20% coach
                                                                                          $4,000                      -20% coach
                                                                                                                                            $4,500
                                                                   Tier 2                                             Tier 2
                                                                   10% comm               $1,000                      10% comm              $1,000
                                                                                                                      Tier 3
                                                                                                                      5% comm               $500
                    Must be a WALKER member to qualify.               Must be an HIKER member to qualify.                 Must be a CLIMBER member to qualify.




 2038
EX 41
                                                                                                                                                                    Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 144 of 168 Page ID
                          ascend
                  Potential Conversions (estimated)                                                (Tiers or pass ups not shown)

                          WALKER             HIKER          CLIMBER            BASE            RISE          ASCEND

                               $37             $67             $127             $597         $1,997           $9,997
                                                                                                                                                                                            #:2205




                               5%              60%              60%             50%            40%              40%




  Attachment Q
                 2,000       100.0             60.0             36.0            18.0             7.2             2.9
                               $15             $27              $76             $270           $900           $4,500
                            $1,500           $1,620           $2,736          $4,860         $6,480          $12,960
                            $1,500           $3,120           $5,856         $10,716 $17,196 $30,156

                  *disclaimer: estimated, not guaranteed and doesn’t include residuals, additional income streams, trip wires, upsells or pass up sales.




 2039
EX 41
                                                                                                                                                           Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 145 of 168 Page ID
                      ascend                                                    Frequently Asked Questions
                 How long do I have to make a decision on buying                  What does the phrase “non ASCEND member referrals are
                 the product and positioning myself?                              passed up” mean?
                                                                                  It means for those members who have yet to buy the APEX product
                 You can upgrade whenever you like.. but member
                                                                                  and have yet to position themselves for commissions at the APEX
                 referrers are locked for life. See explanation in other FAQ.
                                                                                  level will pass up any and all APEX sales they refer.


                 Where and when is the next ASCEND ProJt                           What does the phrase “ASCEND member referrers are
                 Workshop live event?                                              locked for life” mean?
                                                                                                                                                                                        #:2206




                 They are currently schedule for once per year and members         It means the time at which a member upgrades to ASCEND their
                 are given a full schedule of agenda, speakers and location




  Attachment Q
                                                                                   position at ASCEND is attached to the next quali2ed ASCEND
                 months prior to the event. Locations may or may not               member above them for life. So for those who that do pass up that
                 change each year.                                                 ASCEND member means they for2et any and all of that new
                                                                                   members ASCEND sales for life.
                 How many tickets do I get for the ASCEND ProJt
                                                                                  What does “sales assist” mean?
                 Workshop and can I bring anyone with me?
                 Yes you can bring someone with you… the tickets are for          It means we have Digital Client For Life Coaches that call all new
                 two which is all inclusive for 3 days at the resort. Any         members and guide them through the steps to start up, set up
                 additional days or people you would like to bring will be at     and promote and answer any questions regarding compensation
                 your own cost. We do negotiate volume pricing with the           and assist in making the sale for you so they are compensted a
                 resorts prior so a discount maybe available.                     percentage.




 2040
EX 41
                                                                                                                                                       Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 146 of 168 Page ID
Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 147 of 168 Page ID
                                 #:2207




                        ASCEND
                                            Digital Business Pro6t Workshop




                               Attachment Q                                   EX 41
                                                                               2041
Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 148 of 168 Page ID
                                 #:2208




                                            Digital Business Prosperity Retreat
                        peak




                               Attachment Q                                       EX 41
                                                                                   2042
                                peak
                 Digital Business Prosper Retreat
                 A 5-Day all inclusive retreat for two that brings the
                 world’s leading thought leaders in business success,
                 management, and leadership directly to you to learn
                 from.
                                                                                                          #:2209




  Attachment Q
 2043
EX 41
                                                                         Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 149 of 168 Page ID
                                    peak
                     Digital Business Prosper Retreat

                 DAY 1: AGENDA
                 On day one you will learn how to scale your business to
                 the next level and create more proHt in the shortest
                 amount of time.

                         How To Scale Your Digital Business
                         You will learn how to take your business to the 7 &
                                                                                                                #:2210




                         8 Figure levels of revenue.




  Attachment Q
                         Creating Joint Ventures
                         Learn how to develop partners in the industry to
                         leverage lists and expand your reach.

                         Adding Massive Value
                         You see how to add massive value to your
                         content, products and services.

                         Find The Best Talent
                         Discover how to Hnd the best and most talented
                         people to hire.




 2044
EX 41
                                                                               Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 150 of 168 Page ID
                                    peak
                     Digital Business Prosper Retreat

                 DAY 2: AGENDA
                 On day two you will learn how to build a solid Hnancial
                 foundation for which your Digital Business can grow and
                 create longevity.


                         6 Strategies For Awesome Accounting
                         You will learn how to properly manage your
                                                                                                                #:2211




                         accounting to ensure a Hnancial future.




  Attachment Q
                         Creating An Solid Organization
                         Discover how to create a sustainable organization
                         that will give you more freedom.

                          Motivating Your Massive Team
                          Learn the little known secrets to creating massive
                          motivation in your team.

                         Prepare Your Legal Entity
                         You’ll learn how to set your business up legally
                         and protect your assets.




 2045
EX 41
                                                                               Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 151 of 168 Page ID
                                     peak
                      Digital Business Prosper Retreat

                 DAY 3: AGENDA
                 On day three you will learn how to increase sales within
                 your business and organization to ensure a proHtable long
                 term Digital Business.

                         7 Sales Growth Strategies
                         Learn the leading sales strategies that are working
                                                                                                                #:2212




                         now to maximize your LCV.




  Attachment Q
                         Creating Powerful Presentations
                         You’’ll how to create powerful high converting
                         sales presentation to increase sales.

                         Creating Customers for Life
                         Discover the 4 must have’s if you want to create
                         customers for life.

                         The Power of InKuence
                         7 strategies to creating massive inIuence in the
                         marketplace.




 2046
EX 41
                                                                               Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 152 of 168 Page ID
                                     peak
                     Digital Business Prosper Retreat

                 DAY 4: AGENDA
                 On day four it’s all about increasing the effeciency and
                 speed of your business to maximize sales and
                 conversions for your Digital Business.

                         Time Management & Productivity
                         Learn the 9 tricks successful people use to
                                                                                                                #:2213




                         maximze time and productivity.




  Attachment Q
                         Create More Eeciency In Your Business
                         Find out how to maximize the speed at which your
                         business move.

                         How To Automate 80% Of Your Business
                         Discover how 3 new technologies can automate
                         most of your business.

                         How To Create More Time Freedom
                         You’ll learn how to get put systems in place to
                         ensure your spending more time with those you love.




 2047
EX 41
                                                                               Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 153 of 168 Page ID
                                      peak
                      Digital Business Prosper Retreat

                 DAY 5: AGENDA
                 On day Hve we share the core strategies of business
                 building and the mistakes to avoid. You’ll here real stories
                 of trial and error and how you can skip it.


                          How To Raise More Capital
                          You’ll learn 3 powerful tactics to raising instant
                                                                                                                 #:2214




                          capital for your business.




  Attachment Q
                          Create More CashKow
                          Discover how to create even more cash Iow and
                          income streams in your business.

                          The 5 Big Financial Mistakes To Avoid
                          Learn to avoid these mistakes and ensure your on
                          the fast track to success.

                          How 8-Figure Earners Did It
                          You’ll here stories from those who were once like
                          you and are now living their dreams.




 2048
EX 41
                                                                                Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 154 of 168 Page ID
Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 155 of 168 Page ID
                                 #:2215




                   Digital Business Prosper Retreat
         peak




                                                                                                      $16,997
                                                                                Get $3000 Discount!
                                                                                LIMITED TIME ONLY!
                                                                      $19,997
                                                      Retail Value




                                                                     Attachment Q                               EX 41
                                                                                                                 2049
                          RISE                                                 RISE
                                                                               R                                              RISE

                           WALKER                                                  hiker                                       CLIMBER
                 Compensation                             40%      Compensation                             50%       Compensation                        60%
                                                          1 Tier                                            2 Tiers                                       3 Tiers


                 Retail            $16,997                         Retail              $16,997                        Retail            $16,997
                                                                                                                                                                                                     #:2216




                 Tier 1                                            Tier 1                                             Tier 1
                 40% comm                                          40% comm                                           45% comm




  Attachment Q
                 -20% coach
                                      $6,800                       -20% coach
                                                                                          $6,800                      -20% coach
                                                                                                                                            $7,650
                                                                   Tier 2                                             Tier 2
                                                                   10% comm               $1,700                      10% comm              $1,700
                                                                                                                      Tier 3
                                                                                                                      5% comm               $850
                    Must be a WALKER member to qualify.               Must be an HIKER member to qualify.                 Must be a CLIMBER member to qualify.




 2050
EX 41
                                                                                                                                                                    Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 156 of 168 Page ID
                             peak
                  Potential Conversions (estimated)                                                (Tiers or pass ups not shown)

                           WALKER             HIKER         CLIMBER             BASE            RISE         ASCEND              PEAK

                                $37             $67             $127            $597          $1,997           $9,997          $15,997
                                                                                                                                                                                            #:2217




                                5%              60%             60%              50%            40%              40%              40%




  Attachment Q
                 3,000        150.0             90.0            54.0             27.0            10.8             4.3               1.7
                                $15             $27              $76            $270            $900           $4,500           $7,650
                             $2,250           $2,430          $4,104           $7,290         $9,720          $19,440 $13,219
                             $2,250           $4,680          $8,784          $16,074 $25,794 $45,234 $58,453

                  *disclaimer: estimated, not guaranteed and doesn’t include residuals, additional income streams, trip wires, upsells or pass up sales.




 2051
EX 41
                                                                                                                                                           Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 157 of 168 Page ID
                        peak                                                    Frequently Asked Questions
                 How long do I have to make a decision on buying                  What does the phrase “non PEAK member referrals are
                 the product and positioning myself?                              passed up” mean?
                                                                                  It means for those members who have yet to buy the PEAK
                 You can upgrade whenever you like.. but member
                                                                                  product and have yet to position themselves for commissions at the
                 referrers are locked for life. See explanation in other FAQ.
                                                                                  PEAK level will pass up any and all PEAK sales they refer.


                 Where and when is the next PEAK Prosper Retreat                   What does the phrase “PEAK member referrers are
                 live event?                                                       locked for life” mean?
                                                                                                                                                                                        #:2218




                  They are currently schedule for once per year and members        It means the time at which a member upgrades to PEAK their
                  are given a full schedule of agenda, speakers and location




  Attachment Q
                                                                                   position at PEAK is attached to the next quali2ed PEAK member
                  months prior to the event. Locations may or may not              above them for life. So for those who that do pass up that PEAK
                  change each year.                                                member means they for2et any and all of that new members PEAK
                                                                                   sales for life.
                 How many tickets do I get for the PEAK Prosper
                                                                                  What does “sales assist” mean?
                 Retreat and can I bring anyone with me?
                 Yes you can bring someone with you… the tickets are for          It means we have Digital Client For Life Coaches that call all new
                 two which is all inclusive for 5 days at the resort. Any         members and guide them through the steps to start up, set up
                 additional days or people you would like to bring will be at     and promote and answer any questions regarding compensation
                 your own cost. We do negotiate volume pricing with the           and assist in making the sale for you so they are compensted a
                 resorts prior so a discount maybe available.                     percentage.




 2052
EX 41
                                                                                                                                                       Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 158 of 168 Page ID
Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 159 of 168 Page ID
                                 #:2219




                                            Digital Business Prosperity Retreat
                        peak




                               Attachment Q                                       EX 41
                                                                                   2053
Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 160 of 168 Page ID
                                 #:2220




                                            Digital Business Legacy Experience
                        apex




                               Attachment Q                                      EX 41
                                                                                  2054
                                 apex
                 Digital Business Legacy Experience
                 A 7-Day all inclusive retreat for two that brings the
                 world’s leading experts in wealth building, investing,
                 real estate, and asset managment so you can leave
                 an legacy.
                                                                                                           #:2221




  Attachment Q
 2055
EX 41
                                                                          Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 161 of 168 Page ID
                                  apex
                  Digital Business Legacy Experience

                 DAY 1 AGENDA:
                 On day one is all about creating freedom with your
                 business and how to set it up and manage it so you have
                 more time to spend with those you care most about.

                         How To Become Financially Free
                                                                                                            #:2222




                         Learn the 5 Steps the Rich Use To Become
                         Financially Free.




  Attachment Q
                         How To Create Additional Incomes
                         Learn The Little Known Way To Create
                         Multiple Streams Of Income.

                         Build Streams Of Cash Flow
                         You’ll Learn How To Add More Streams of Cash
                         Flow To Pad Your Bottom Line.

                         Secure Your Retirement Income
                         5 Strategies That Are Proven To Secure Your
                         Retirement Income For Life.




 2056
EX 41
                                                                           Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 162 of 168 Page ID
                                  apex
                 Digital Business Legacy Experience

                 DAY 2 AGENDA:
                 On day two you will learn about investing and how to
                 beat Wall Street at it’s own game.


                         Secrets The Rich Use To Get Richer
                         Discover The Little Know Secrets That The
                                                                                                            #:2223




                         Rich Use To Get Richer.




  Attachment Q
                         Fund Your Investments With OPM
                         Learn How To Fund Your Investments Using
                         Other People’s Money.

                         Take Control Of Your Financial Future
                         You’ll Learn 6 Tips To Taking More Control Over
                         Your Financial Future.

                         How To Beat Wall Street
                         Learn How To Finally Beat Wall Street At It’s
                         Own Money Game.




 2057
EX 41
                                                                           Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 163 of 168 Page ID
                                  apex
                 Digital Business Legacy Experience

                 DAY 3 AGENDA:
                 On day three you will learn how to create long term
                 wealth and keep it growing for decades.


                          Boost Your Financial IQ
                          Learn The 3 Steps To Boosting Your Financial
                                                                                                          #:2224




                          IQ Instantly.




  Attachment Q
                          How To Use Leverage
                          You’ll Learn the Little Know Ways To Truly
                          Use Leverage.
                         Invest Like The Rich
                         Discover The Closed Door Investing Secrets Of
                         The Rich.

                         Create Long Term Wealth Strategies
                         9 Simple But Little Know Long Term Wealth
                         Strategies The Wealthy Use.




 2058
EX 41
                                                                         Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 164 of 168 Page ID
                                 apex
                 Digital Business Legacy Experience

                 DAY 4 AGENDA:
                 On day four you will learn how the wealth think and
                 why they thinking differently makes you wealther.


                        The Inner Game of Wealth
                        Dicover The Way Wealthy People Think And
                                                                                                        #:2225




                        How You Can Too.




  Attachment Q
                        How To Say Wealthy For Life
                        Learn The 9 Secretive Ways The Wealthy
                        Stay Wealthy.
                        Where Is Your Financial Thermostat
                        You’ll Learn How 99% Of People Thermostats
                        Are Way Off When It Comes To Money.

                        Your Relationship With Money
                        Discover Why Your Relationship With Money
                        Repels or Attracts It To You.




 2059
EX 41
                                                                       Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 165 of 168 Page ID
                                  apex
                 Digital Business Legacy Experience

                 DAY 5 AGENDA:
                 On day Hve we get into the nuts and bolts of wealth
                 creation and how to build a solid foundation.


                         Win The Credit Score Game
                         Discover The 7 Ways You Can Create A Better
                                                                                                          #:2226




                         Credit Score.




  Attachment Q
                          How To Create Your Own Bank
                          You’ll Learn A Little Know Strategy The Rich
                          Have Used For Decades.

                         Create A Tax Free Retirement
                         Learn How To Rid Yourself Of Taxes During
                         Retirement.

                         How The Rich Use IRA’s
                         Learn How The Ultra Rich Use IRA’s To Their
                         Long Term Advantage.




 2060
EX 41
                                                                         Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 166 of 168 Page ID
                                  apex
                 Digital Business Legacy Experience

                 DAY 6 AGENDA:
                 On day six you will learn how to legally protect
                 yourself from the proHt predators and protect your
                 legacy.

                         Awesome Asset Protection
                         Discover 4 Strategies To Help Create Better
                                                                                                        #:2227




                         Asset Protection in Your Portfolio.




  Attachment Q
                          Ultra Rich Legal Tax Strategies
                          Learn The Ultra Rich’s Tax Strategies.

                         Risk Managment Tactics
                         You’ll Learn How To Manage Rich With These
                         Powerful Tactics.

                         Annuity Analysis
                         Discover A New Way To Analyze Annuities And
                         Choose The Best Option For you.




 2061
EX 41
                                                                       Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 167 of 168 Page ID
                                  apex
                 Digital Business Legacy Experience

                 DAY 7 AGENDA:
                 On day seven it’s all about real estate and how to
                 leverage those assets to create a long term legacy
                 that will last for generations.

                         Rising Real Estate
                         Discover How To Invest In Real Estate By
                                                                                                        #:2228




                         Leading Experts.




  Attachment Q
                         Hidden Markets & No Money Down
                         Learn How To Find Hidden Markets And
                         How To Create No Money Down Deals.

                         Wholesaling & Rehabbing ProJts
                         You’ll Learn How To Use Wholesaling &
                         Rehabbing To Explode ProHts.

                         Time Tested Tax Liens
                         Discover The Little Known But Lucrative Tax
                         Lien Strategies.




 2062
EX 41
                                                                       Case 2:18-cv-00729-JAK-MRW Document 25 Filed 01/29/18 Page 168 of 168 Page ID
